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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                HBL SNF, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Epic Rehabilitation and Nursing at White Plains
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  120 Church Street                                               1280 Albany Post Road
                                  White Plains, NY 10601                                          Croton on Hudson, NY 10520
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    HBL SNF, LLC                                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6231

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                          The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                             A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                              Case number
                                                 District                                 When                              Case number




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Debtor    HBL SNF, LLC                                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases
    pending or being filed by a
                                            No
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or
    have possession of any
                                        No
    real property or personal           Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes. Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors                           50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

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Debtor   HBL SNF, LLC                                                               Case number (if known)
         Name

                            $50,001 - $100,000                       $10,000,001 - $50   million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                            $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




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Debtor    HBL SNF, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      November 1, 2021
                                                  MM / DD / YYYY


                             X   /s/ Lizer Jozefovic                                                      Lizer Jozefovic
                                 Signature of authorized representative of debtor                         Printed name

                                 Title    Chief Executive Officer




18. Signature of attorney    X   /s/ Tracy L. Klestadt                                                     Date November 1, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Tracy L. Klestadt
                                 Printed name

                                 Klestadt Winters Jureller Southard & Stevens, LLP
                                 Firm name

                                 200 West 41st Street
                                 17th Floor
                                 New York, NY 10036-7203
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (212) 972-3000                Email address      tklestadt@klestadt.com

                                 2089985 NY
                                 Bar number and State




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                                  HBL SNF, LLC
                                      d/b/a
                EPIC REHABILITATION AND NURSING AT WHITE PLAINS
                              FINANCIAL STATEMENTS
                        Nine Months Ended September 30, 2021
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                                HMM, CPAs LLP
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                                       AUDIT | TAX | CONSULTING




                         INDEPENDENT ACCOUNTANT’S COMPILATION REPORT


    To the Members of:
    HBL SNF, LLC d/b/a Epic Rehabilitation and Nursing at White Plains
    White Plains, NY

    Management is responsible for the accompanying financial statements of HBL SNF, LLC d/b/a Epic
    Rehabilitation and Nursing at White Plains (a corporation), which comprise the balance sheet as of
    September 30, 2021, the related statement of loss and changes in members’ deficit for the one month
    and the nine months then ended in accordance with accounting principles generally accepted in the
    United States of America. We have performed a compilation engagement in accordance with Statements
    on Standards for Accounting and Review Services promulgated by the Accounting and Review Services
    Committee of the AICPA. We did not audit or review the financial statements nor were we required to
    perform any procedures to verify the accuracy or completeness of the information provided by
    management. Accordingly, we do not express an opinion, a conclusion, nor provide any form of
    assurance on these financial statements.

    A statement of cash flows for the nine months ended September 30, 2021, has not been presented.
    Accounting principles generally accepted in the United States of America require that such a statement
    be presented when financial statements purport to present financial position and results of operations.

    Supplementary Information

    The supplementary information contained in pages 13 through 19, is presented for purposes of additional
    analysis and is not a required part of the basic financial statements. The supplementary information is
    the responsibility of management. The information was subject to our compilation engagement; however,
    we have not audited or reviewed the supplementary information and, accordingly, do not express an
    opinion, a conclusion, nor provide any form of assurance on such supplementary information.


    HMM, CPAs LLP
    Hauppauge, NY
    October 22, 2021




527 Townline Road – Suite 203, Hauppauge, NY 11788 | Telephone: (631) 265-6289 | Fax: (631) 265-6523
                         www.horanmm.com | Email: general@horanmm.com
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                                HBL SNF, LLC
                                     d/b/a
            EPIC REHABILITATION AND NURSING AT WHITE PLAINS
                                       BALANCE SHEET
                                      September 30, 2021

                                            ASSETS

   CURRENT ASSETS
    Cash and cash equivalents                                                  $      400,639
    Accounts Receivables net of allowance for
      doubtful accounts of $136,377 as of September 30, 2021                        3,514,655
    Due from third party payors                                                     1,357,579
    Inventory                                                                          30,041
    Security deposits                                                                   3,707
    Prepaid expenses                                                                1,230,551
      TOTAL CURRENT ASSETS                                                          6,537,172

   RESIDENT FUND                                                                       68,210
   PROPERTY AND EQUIPMENT at cost, less
    accumulated depreciation                                                        2,525,929
      TOTAL ASSETS                                                             $    9,131,311

                              LIABILITIES & MEMBERS' DEFICIT

   CURRENT LIABILITIES
    Accounts payable                                                           $    1,879,684
    Accrued payroll expenses and taxes payable                                        939,721
    Accrued expenses                                                                  678,009
    Payable to third party and private payors                                         166,844
    Current portion of long term debt                                                  62,351
      TOTAL CURRENT LIABILITIES                                                     3,726,609

   RESIDENT FUND PAYABLE                                                               67,710
   DUE TO OTHERS                                                                    1,100,000
   DUE TO RELATED PARTIES                                                          15,044,004
   LONG TERM DEBT, less current portion above                                         190,553
   CONTINGENCIES                                                                          -
     TOTAL LIABILITIES                                                             20,128,876

      MEMBERS' DEFICIT                                                             (10,997,565)

      TOTAL LIABILITIES & MEMBERS' DEFICIT                                     $    9,131,311




      The accompanying Notes to Financial Statements are an integral part of this statement.
                Unaudited - See Independent Accountant's Compilation Report
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                                                 HBL SNF, LLC
                                                     d/b/a
                            EPIC REHABILITATION AND NURSING AT WHITE PLAINS

                                STATEMENT OF LOSS AND CHANGES IN MEMBERS' DEFICIT

                                                              One Month Ended                      Nine Months Ended
                                                             September 30, 2021                    September 30, 2021

OPERATING REVENUE
 Routine and ancillary service income                  $   1,998,017      $       532.80     $   17,496,837     $   556.34
 Other operating income                                          234                0.06             11,479           0.36
  TOTAL OPERATING REVENUE                                  1,998,251              532.86         17,508,316         556.70

EXPENSES
 Nursing & Medical                                           618,219              164.84          5,456,861         173.52
 Therapy & Ancillaries                                       272,434               72.65          2,408,795          76.59
 Social Services                                              14,247                3.80            137,985           4.39
 Leisure Time Activities                                      30,190                8.05            255,552           8.12
 Cleanliness & Safety                                        133,204               35.52          1,207,716          38.41
 Food & Nutrition                                            156,696               41.79          1,291,038          41.06
 General & Administration                                    360,000               96.00          2,916,476          92.74
 Property                                                    602,908              160.76          5,450,340         173.31
 Non-Comparable                                               38,102               10.16            308,340           9.80
  TOTAL EXPENSES                                           2,226,000              593.57         19,433,103         617.94

     NET OPERATING LOSS                                     (227,749)              (60.71)        (1,924,787)       (61.24)

NON-OPERATING INCOME
 Forgiveness of Paycheck Protection Program Loan                  -                   -             482,320             15.34
  TOTAL NON-OPERATING INCOME                                      -                   -             482,320             15.34

  NET LOSS                                             $    (227,749)     $        (60.71)        (1,442,467)   $   (45.90)

MEMBERS' DEFICIT
 Balance, Beginning of Period                                                                   (9,555,098)
BALANCE, END OF PERIOD                                                                       $ (10,997,565)

NUMBER OF RESIDENT DAYS                                         3,750                                31,450
AVERAGE NUMBER OF RESIDENTS                                       125                                   115




                    The accompanying Notes to Financial Statements are an integral part of this statement.
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                                              HBL SNF, LLC
                                                   d/b/a
                             Epic Rehabilitation and Nursing at White Plains
                                        NOTES TO FINANCIAL STATEMENTS
                                       Nine Months Ended September 30, 2021

(1) Summary of significant accounting policies

Description of Operations - HBL SNF, LLC d/b/a Epic Rehabilitation and Nursing at White Plains (the Company), is
licensed as a 160 bed Residential Health Care Facility located in White Plains, NY. The Company provides the
necessary medical services to its residents. The entity commenced operations on November 14, 2019 as limited
liability Company in accordance with the Limited Liability Law of the State of New York. The Company does not have a
termination date.

Basis of Accounting – The Company’s financial statements are prepared in accordance with accounting principles
generally accepted in the United States of America.

Cash and Cash Equivalents - Cash and cash equivalents consists of cash held in checking and money market
accounts and certificates of deposits with original maturities of three months or less.

Use of Estimates - The preparation of the financial statements in conformity with accounting principles generally
accepted in the United States of America requires the Company's management to make estimates and assumptions
that affect the reported amounts of assets and liabilities and disclosures of contingent assets and liabilities at the date
of the financial statements and the reported amounts of revenue and expenses during the reported period. Actual
events and results could differ from those assumptions and estimates.

Routine and ancillary service income – Routine and ancillary service income is reported at the amount that reflects the
consideration to which the Company expects to be entitled in exchange for providing resident care. These amounts are
due from residents, third-party payors (including health insurers and government programs), and others and includes
variable consideration for retroactive revenue adjustments due to settlement of audits, reviews, and investigations.

Generally, the Company bills the residents and third-party payors several days after the services are performed.
Revenue is recognized as performance obligations are satisfied.

Performance obligations are determined based on the nature of the services provided by the Company. Revenue for
performance obligations satisfied over time is recognized based on actual charges incurred in relation to total expected
(or actual) charges. The Company believes that this method provides a faithful depiction of the transfer of services
over the term of the performance obligation based on the inputs needed to satisfy the obligation. Generally,
performance obligations satisfied over time relate to residents in our facility receiving skilled nursing services or
residents receiving other services in our facility. The Company measures the performance obligation from admission
into the facility, or the commencement of an inpatient service, to the point when it is no longer required to provide
services to that resident, which is generally at the time of discharge or completion of the inpatient services.

Revenue for performance obligations satisfied at a point in time is generally recognized when goods or services are
provided to the residents and the Company does not believe it is required to provide additional goods or services
related to that sale.

Because all of its performance obligations relate to contracts with a duration of less than one year, the Company has
elected to apply the optional exemption provided in FASB ASC 606-10-50-14(a) and, therefore, is not required to
disclose the aggregate amount of the transaction price allocated to performance obligations that are unsatisfied or
partially unsatisfied at the end of the reporting period.

The Company determines the transaction price based on standard charges for goods and services provided, reduced
by contractual adjustments provided to third-party payors, discounts provided to uninsured residents in accordance
with the Company's policy, and implicit price concessions provided to Residents. The Company determines its
estimates of contractual adjustments based on contractual agreements, its policies, and historical experience. The
Company determines its estimate of implicit price concessions based on its historical collection experience.


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                                             HBL SNF, LLC
                                                  d/b/a
                            Epic Rehabilitation and Nursing at White Plains
                                        NOTES TO FINANCIAL STATEMENTS
                                       Nine Months Ended September 30, 2021

(1) Summary of Significant Accounting Policies (continued)

The Company has determined that the nature, amount, timing, and uncertainty of revenue and cash flows is primarily
affected by the primary payor source. A table providing details of this factor is presented below:

                                                              One Month Ended      Nine Months Ended
                                                             September 30, 2021    September 30, 2021
                         Private                             $         171,025     $          817,279
                         Medicare                                    1,101,901            10,394,482
                         Other Insurance & MLTC                        159,177              1,337,735
                         Medicaid                                      565,914              4,947,341
                           Total                             $       1,998,017     $        17,496,837

Routine and ancillary service income is comprised primarily of Skilled Nursing Revenue. Revenue from other services
is not a significant component of resident services revenue. For the one month and the nine months ended September
30, 2021, the Company recognized revenue of $1,998,017 and $17,496,837 from goods and services that transfer to
the customer over time.

The Company has elected the practical expedient allowed under FASB ASC 606-10-32-18 and does not adjust the
promised amount of consideration from residents and third-party payors for the effects of a significant financing
component due to the Company's expectation that the period between the time the service is provided to a resident
and the time that the Resident or a third-party payor pays for that service will be one year or less.

However, the Company does, in certain instances, enter into payment agreements with residents that allow payments
in excess of one year. For those cases, the financing component is not deemed to be significant to the contract.

The Company has applied the practical expedient provided by FASB ASC 340-40-25-4 and all incremental customer
contract acquisition costs are expensed as they are incurred as the amortization period of the asset that the Company
otherwise would have recognized is one year or less in duration.

Variable Interest Entity Election - The Company has an agreement with White Plains Healthcare Properties I, LLC (The
Realty) under which the Realty owns the land and building and leases it to the Company. The Company and the
Realty do not have common ownership. The Company has no ownership interest in the Realty but does not guarantee
the Realty’s debt. The Company has determined that the Realty is a variable interest entity and the Company is the
primary beneficiary and therefore would be required under Financial Accounting Standards Board Accounting
Standards Codification to consolidate their financial statements. The Company though had elected to apply the
alternative accounting and disclosure for certain variable interest entities provided to private companies pursuant to
generally accepted accounting principles, and first effective for years beginning after December 15, 2014. Accordingly,
the Company has opted not to consolidate their financial statement with the Realty (see also Note 9).

Property and Equipment - Property and equipment are stated at cost and are depreciated over their estimated useful
lives using the straight-line method. Additions and improvements which extend the life of the assets are capitalized,
and normal repairs and maintenance are charged to current operations. The costs and related accumulated
depreciation of assets retired or disposed of are removed from the related accounts and the resulting gain or loss is
reflected in income. Depreciation is computed using the straight-line method over the estimated lives of the assets
which are as follows:

                                   Leasehold Improvements        10-15
                                   Major Movable Equipment        10
                                   Computers                      5


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                                              HBL SNF, LLC
                                                   d/b/a
                             Epic Rehabilitation and Nursing at White Plains
                                       NOTES TO FINANCIAL STATEMENTS
                                      Nine Months Ended September 30, 2021

(1) Summary of Significant Accounting Policies (continued)

Long-Lived Assets – The Company assesses its long-lived assets for impairment when events or circumstances
indicate their carrying amounts may not be recoverable by comparing the expected undiscounted future cash flows of
the assets within the respective carrying amounts as of the date of assessment. Should aggregate expected future
cash flows be less than the carrying value, impairment would be recognized, measured as the difference between the
carrying value and the fair value of the asset. During 2021, the Company did not record any impairment charges.

Resident Fund- Resident funds represent cash held in escrow on behalf of the residents. Such funds represent living
allowances received by residents from the State of New York, as well as other resident funds deposited with the
Company for safe keeping. Accordingly, the amounts are reported as assets and liabilities of the Company and are
included on the balance sheet as “resident fund” and “resident funds payable.”

Concentration of Credit Risk - Accounts receivable potentially exposes the Company to concentrations of credit risk, as
defined by FASB in the ASC. The Company's outstanding receivables are generated from third-party payers and
private pay sources for residents residing in the facility. Third-party payors include the Medicaid, Medicare and private
insurance companies. Private pay sources include individual residents.

The Company provides credit in the normal course of business, without collateral, to its residents, most of who are
local residents and are insured under third party agreements. The Company has collateral in the form of restricted
funds held in escrow for their private paying residents. Accounts receivable from residents and third party payors were
approximately as follows as of September 30, 2021:

                         Medicaid                                                             17.87%
                         Medicare                                                             39.85%
                         Self Pay                                                             42.28%
                          Total                                                              100.00%


Allowance for Doubtful Accounts - Accounts receivable are reduced by an allowance for doubtful accounts. In
evaluating the collectability of accounts receivable, the Company analyzes its past history and identifies trends for
each of its major payor sources of revenue to estimate the appropriate allowance for doubtful accounts and the
provision for bad debts. Management regularly reviews data about these major payor sources of revenue in evaluating
the sufficiency of the allowance for doubtful accounts.

For receivables associated with services provided to residents who have third-party coverage, the Company analyzes
contractually due amounts and provides an allowance for doubtful accounts and a provision for bad debts, if necessary
(for example, for expected uncollectible deductibles and copayments on accounts for which the third-party payor has
not yet paid, or for payors who are known to be having financial difficulties that make the realization of amounts due
unlikely).

For receivables associated with self-pay residents (which includes both residents without insurance and residents with
deductible and copayment balances due for which third-party coverage exists for part of the bill), the Company records
a significant provision for bad debts in the period of service on the basis of its past experience, which indicates that
many residents are unable or unwilling to pay the portion of their bill for which they are financially responsible. The
difference between the standard rates (or the discounted rates if negotiated) and the amounts actually collected after
all reasonable collection efforts have been exhausted is charged off against the allowance for doubtful accounts.




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(1) Summary of Significant Accounting Policies (continued)

Assessing Collectability - The Company recognizes resident service revenue associated with services provided to
residents who have third-party payor coverage on the basis of contractual rates for the services rendered. For
uninsured residents, the Company recognizes revenue on the basis of its standard rates for services provided (or on
the basis of discounted rates, if negotiated). On the basis of historical experience, a portion of the Company’s
uninsured residents will be unable or unwilling to pay for the services provided. Thus, the Company records a provision
for bad debts related to uninsured residents in the period the services are provided.

Income Taxes – The Company is a limited liability company organized under the laws of the State of New York and
does not incur income taxes. Instead, its earnings are included in the members’ personal income tax returns and taxed
depending on their personal tax situations. The financial statements, therefore, do not include a provision for income
taxes. The Company files income tax returns in the U.S. federal, and New York State jurisdictions. The Company
recognizes the effects of income tax positions only if they are more likely than not of being sustained. Management
has determined that the Company has no uncertain tax provisions that would require financial statement recognition.

Impact of Coronavirus (COVID-19) – In March 2020, an outbreak of a new strain of coronavirus, COVID-19, emerged
as a pandemic in New York State and across the United States, leading to widespread business shutdowns and
significant fluctuations in the financial markets. The COVID-19 outbreak has been ongoing and as such, has disrupted
supply chains and affected production and sales across a range of industries.

Long term care facilities have been impacted by the pandemic with many facilities experiencing reduced census due to
COVID-19 deaths. Although not all of the reduction in census can be directly attributed to COVID-19 deaths, new
admissions have slowed dramatically due to a general decline in medical care and concern among patients and family
members about the coronavirus.

In response to the coronavirus outbreak, the US Government passed the Families First Coronavirus Relief Act
(FFCRA) and the Coronavirus Aid, Relief and Economic Security Act (“CARES Act”). These two pieces of legislation
were designed to assist individuals and businesses in dealing with the coronavirus outbreak.

Even though the Company has received assistance in response to the pandemic, the extent to which COVID-19
impacts the Company’s business, results of operations and financial condition will depend on future developments,
which are highly uncertain and cannot be predicted, including, but not limited to the duration, spread, severity, and
impact of COVID-19. Therefore, the related financial impact cannot be reasonably estimated at this time.

Subsequent Events – In preparing these financial statements, the Company has evaluated subsequent events through
October 22, 2021, which is the date the financial statements were available to be issued.

(2) Resident fund

The Company acts as a fiduciary for the personal funds of its residents. These funds are kept in a separate cash
account. The resident fund cash balance at September 30, 2021 was $68,210. The resident fund payable at
September 30, 2021 was $67,710.

(3) Resident Service Income from Third Party Payors

Agreements with third-party payors typically provide for payments at amounts less than established charges.          A
summary of the payment arrangements with major third-party payors follows:

        Medicare: Certain inpatient services are paid at prospectively determined rates per day based on clinical,
        diagnostic and other factors. Physician services are paid based upon established fee schedules. Inpatient
        services are paid using prospectively determined rates.

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(3) Resident Service Income from Third Party Payors (continued)

        Medicaid: Reimbursements for Medicaid services are generally paid at prospectively determined rates per day.
        The Company is reimbursed for services at tentative rates with final settlement determined after submission of
        annual cost reports by the Company and audits thereof by the Medicaid administrative contractor.

        Other:    Payment agreements with certain commercial insurance carriers and health maintenance
        organizations provide for payment using prospectively determined rates per day.

Laws and regulations concerning government programs, including Medicare and Medicaid, are complex and subject to
varying interpretation. As a result, there is at least a reasonable possibility that recorded estimates will change by a
material amount in the near term. The Nursing Home believes that it is in compliance with all applicable laws and
regulations and is not aware of any pending or threatened investigations involving allegations of potential wrongdoing.

Settlements with third-party payors for retroactive adjustments due to audits, reviews, or investigations are considered
variable consideration and are included in the determination of the estimated transaction price for providing resident
care.

These settlements are estimated based on the terms of the payment agreement with the payor, correspondence from
the payor and the Company's historical settlement activity, including an assessment to ensure that it is probable that a
significant reversal in the amount of cumulative revenue recognized will not occur when the uncertainty associated with
the retroactive adjustment is subsequently resolved. Estimated settlements are adjusted in future periods as
adjustments become known (that is, new information becomes available), or as years are settled or are no longer
subject to such audits, reviews, and investigations.

Generally, residents who are covered by third-party payors are responsible for related deductibles and coinsurance,
which vary in amount. The Company estimates the transaction price for residents with deductibles and coinsurance
based on historical experience and current market conditions. The initial estimate of the transaction price is determined
by reducing the standard charge by any contractual adjustments, discounts, and implicit price concessions.

Subsequent changes to the estimate of the transaction price are generally recorded as adjustments to Resident
service revenue in the period of the change. Additional revenue recognized due to changes in its estimates of implicit
price concessions, discounts, and contractual adjustments were not considered significant for the nine months ended
September 30, 2021. Subsequent changes that are determined to be the result of an adverse change in the
Resident's ability to pay are recorded as bad debt expense.

Due from Third Party Payors consisted of the following at September 30, 2021:

                 1% Rate Restoration                                        $            99,500
                 2019 Quality Pool                                                      (46,730)
                 2020 Medicaid Rate Changes                                             193,290
                 2021 Medicaid Rate Changes                                           1,111,519
                    Due from third party payors                             $         1,357,579




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(3) Resident Service Income from Third Party Payors (continued)

Payable to third party and private payors consisted of the following at September 30, 2021:

                Due to Medicaid - (credit balances)                         $             79,906
                Due to Private - (credit balances)                                         8,821
                Due to Other Ins, - (credit balances)                                     78,117
                   Total payable to third party
                      and private payors                                    $            166,844


Temporary Suspension of Medicare Sequestration

The Budget Control Act of 2011 requires a mandatory, across the board reduction in federal spending, called a
sequestration. Medicare fee for service claims with dates of service or dates of discharge on or after April 3, 2013
incur a 2.0% reduction in Medicare payments. All Medicare rate payments and settlements have incurred this
mandatory reduction and it will continue to remain in place through at least 2023, unless Congress takes further action.
In response to COVID-19, the CARES Act temporarily suspended the automatic 2.0% reduction of Medicare claim
reimbursements for the period of May 1, 2020 through December 31, 2021. During the nine months ended September
30, 2021, the suspension of sequestration resulted in net revenues of approximately $200,000.

Medicaid Rate Changes


                                                                        Rate             Medicaid Only CMI
        November 14, 2019                                        $              258.14             N/A
        January 1, 2021 - CMI Dated 7/2020                       $              338.67             1.51
        July 1, 2021 - CMI Dated 1/2021                          $              331.99             1.46
        Assessment per diem - 1/1/19                             $               17.31             N/A

As part of the budget, New York State implemented an across the board (ATB) reduction to Medicaid payments made
to most Medicaid providers. All fee-for-service payments with dates of service of January 1, 2021 through September
30, 2021, were reduced by 1.5%.

(4) Property and Equipment

Property and equipment consisted of the following at September 30, 2021:

                   Major moveable equipment                                     $        2,316,312
                   Leasehold improvements                                                  591,316
                   Computers                                                                60,109
                      Total at cost                                                      2,967,737
                   Accumulated Depreciation                                               (441,808)
                      Net property and equipment                                $        2,525,929


The depreciation charged to operations for the one month and the nine months ended September 30, 2021 was
$21,000 and $189,000, respectively. The depreciation policies followed by the Company are described in Note (1).



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(5) Accrued Payroll Expenses and Taxes Payable

Accrued payroll expenses and taxes payable consisted of the following at September 30, 2021:

                         Accrued payroll, sick, and vacation                        $           352,618
                         Accrued payroll taxes                                                  587,103
                            Total accrued payroll and taxes payable                 $           939,721
(6) Long-term Debt

Long-term debt consisted of the following at September 30, 2021:

 (A) $208,948 lease payable, interest at 10.38%, monthly installments
       of $4,479, including principal and interest, due December 2024                   $          148,336

 (B) $22,656 lease payable, interest at 11.60%, monthly installments
       of $500, including principal and interest, due March 2025                                    17,163

 (C) $101,955 lease payable, interest at 11.65%, monthly installments
       of $2,250, including principal and interest, due October 2025                                87,405
                            Total long term debt                                                   252,904
                            Less: Amount due within one year                                        62,351
                            Amount Due After One Year                                   $          190,553


Monthly requirements on long-term debt are as follows for the year ended:

                                           (A)               (B)              (C)              TOTAL
                            2021 $             9,708 $          1,012 $          4,244 $          14,964
                            2022              41,441            4,352           18,261            64,054
                            2023              45,953            4,884           20,506            71,343
                            2024              51,234            5,482           23,027            79,743
                            2025                   -            1,433           21,367            22,800
                  2026 thereafter                  -                -                -               -
                TOTAL             $          148,336 $         17,163 $         87,405 $         252,904


Total interest expense for the one month and the nine months ended September 30, 2021 was $2,340 and $22,573,
respectively.

The assets and liabilities under capital lease are recorded at the lower of the present value of the minimum lease
payments or the fair value of the asset. The assets are amortized over their estimated productive lives. Amortization of
assets under capital leases is included in depreciation expense for the one month and the nine months ended
September 30, 2021. The following is a summary of property held under capital lease:

                Leasehold Improvements                                    $         333,559
                MME                                                                  22,656
                Accumulated Depreciation                                            (30,629)
                                   Net                                    $         325,586


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(7) Transactions with Related Parties

Due (to) / from Related Parties consisted of the following at September 30, 2021:

                 Due to Salem Acquisition I, LLC                           $             (7,062)
                 Due from Water's edge                                                  201,376
                 Due to Waterview Acquisition I, LLC                                 (2,518,777)
                 Due from Broward Acquisition, LLC                                          444
                 Due to Skyview Nursing Home                                        (10,825,337)
                 Due to Putnam Operation Acquisition                                   (165,830)
                 Due from Due to Riverfront, LLC                                            200
                 Due from Due to Watercrest Acquisition I, LLC                           13,000
                 Due to Park Manor Acquisition II, LLC                                 (865,543)
                 Due to EPIC Management, LLC                                            (31,440)
                 Due to Epic Senior, LLC                                               (174,963)
                 Due from Montgomery Nursing Home                                        99,928
                 Due to Owners                                                         (770,000)
                 Total Net Due to related parties                          $        (15,044,004)


The Company has received loans from related parties. These related parties are nursing homes who have common
ownership with the Company: Salem Acquisition I, LLC, Water’s Edge, Waterview Acquisition I, LLC, Broward
Acquisition I, LLC, Skyview Acquisition, LLC, Putnam Operation Acquisition I, LLC, Park Manor Acquisition II, LLC and
Montgomery Nursing Home.

The Company receives management services from EPIC Healthcare Management, LLC and Epic Senior, LLC, related
parties with common ownership. Total management services for the one month and the nine months ended
September 30, 2021 was $79,930 and $691,285, respectively.

The above loans do not accrue interest and have no set repayment terms.

(8) PPP Loan Payable

In April 2020, the Company received a loan in the amount of $482,300 under the Payroll Protection Program (“PPP
Loan”). The PPP Loan, established as part of the Coronavirus Aid, Relief and Economic Security Act (“CARES Act”),
provides for loans to qualifying businesses for amounts up to 2.5 times of the average monthly payroll expenses of the
qualifying business. The PPP Loan and accrued interest are forgivable after the covered period, up to 24-weeks, if the
borrower uses the PPP Loan proceeds for eligible purposes, including payroll, benefits, rent, utilities, covered worker
protection expenditures and maintains its payroll levels. The amount of the PPP Loan forgiveness will be reduced if
the borrower terminates employees or reduces salaries during the covered period, up to 24-weeks. The unforgiven
portion of the PPP Loan is payable over two years (with a possible extension to five years), at an interest rate of 1%,
with a deferral of payments for the first 10 months. All the proceeds of the PPP Loan were used by the company to
pay eligible payroll costs and the Company maintained its headcount and otherwise complied with the terms of the
PPP Loan.

The Company believes that it has acted in compliance with the program and has requested forgiveness of the PPP
Loan. The PPP Loan of $482,300 was forgiven as of September 30, 2021 and is shown on the statement of loss and
changes in members’ deficit.



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(9) Lease Agreement

The Company has an arm’s length lease with White Plains Healthcare Properties I, LLC (The Realty) to operate a 160-
bed skilled nursing facility located at 120 Church Street, White Plains, NY 10601. The lease, dated November 19,
2015 has a thirty-year term. The lease calls for annual rent in the amount of $6,073,158, split into monthly installments
of $506,097 per month. The total rent charged to operations for the one month and the nine months ended September
30, 2021 was $506,097 and $4,554,869, respectively.

        Future minimum lease payments are as follows:

                         2021                                                    $         1,518,289
                         2022                                                              6,073,158
                         2023                                                              6,073,158
                         2024                                                              6,073,158
                         2025                                                              6,073,158
                         2026 - thereafter                                                89,579,081
                         Total future minimum lease payments                     $       115,390,002
(10) Pension

The Company is a sponsor in a multiple employer defined contribution plan with EPIC Healthcare Management, LLC, a
related party. The plan covers substantially all of its employees and provides deferred compensation and profit
sharing benefits. The plan provides that employees who have attained age 18 and completed three months of service
can voluntarily contribute from 1% to 85% of their earnings to the plan. The Company may contribute a discretionary
matching contribution and a discretionary profit-sharing amount equal to a percentage of the participants’ contribution.
Pension expense for the one month and the nine months ended September 30, 2021 was $2,450 and $14,454,
respectively.

(11) Commitments and Contingencies

The Company is involved in various claims and legal actions in the normal course of business. Management
estimates that such matters will be resolved without material adverse effect on the Company’s future financial position
or results from operations.

The Company files annual cost reports with National Government Services as fiscal intermediary for the Medicare
Program and New York State Department of Health for the development of Medicare and Medicaid payment rates.
Revenue received under cost reimbursement agreements are subject to audit and retroactive adjustment. Provisions
have not been made in the accompanying financial statements for the effect of such adjustment, if any, relating to this
matter.




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                          SUPPLEMENTARY INFORMATION
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CURR. MTH.                                                            CUM.        PER DAY      PER DAY      % INC (DEC)
 09/01/21                                                            01/01/21     01/01/21     09/01/21      CUM. vs.
 09/30/21                     DESCRIPTION                            09/30/21     09/30/21     09/30/21     CURR. MTH.

              ROUTINE AND ANCILLARY SERVICE INCOME

$   565,914   MEDICAID                                           $ 4,947,814      $ 347.90   $ 327.31              -6.29%
        -     MEDICAID RETRO                                             (473)       (0.03)       -                 0.00%
    159,177   OTHER INS. & MLTC                                     1,337,735       444.73     402.98             -10.36%
  1,041,833   MEDICARE PART - A                                     9,935,797       795.63     813.30               2.17%
    171,025   PRIVATE                                                 817,279       471.87     495.72               4.81%
     60,068   MEDICARE PART B                                         458,685        14.58      16.02               8.99%
$ 1,998,017         ANCILLARY SERVICE INCOME                     $ 17,496,837     $ 556.34 * $ 532.80 *            -0.68%


                      OTHER OPERATING INCOME

$      234    OTHER INCOME                                       $      11,479    $    0.36     $   0.06      -500.00%

$      234       TOTAL OTHER OPERATING INCOME                    $      11,479    $    0.36     $   0.06      -500.00%




         *Average Routine and Ancillary Service Income and Contractual Allowances for all classes of residents.
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CURR. MTH.                                                      CUM.           PER DAY     PER DAY      % INC (DEC)
 09/01/21                                                      01/01/21        01/01/21    09/01/21      CUM. vs.
 09/30/21                 DEPARTMENT                           09/30/21        09/30/21    09/30/21     CURR MTH.

                  NURSING & MEDICAL

$   122,221   PAYROLL DNS & RN SUPERVISORS                 $ 1,135,754     $       36.11   $    32.59      -10.80%
    143,744   PAYROLL L.P.N.                                 1,190,656             37.86        38.33        1.23%
    208,064   PAYROLL AIDES & ORDERLIES                      1,814,696             57.70        55.48       -4.00%
     12,355   PAYROLL MDS COORDINATOR                          102,676              3.26         3.29        0.91%
      8,083   PAYROLL MEDICAL RECORDS                           73,855              2.35         2.16       -8.80%
      5,493   PAYROLL ADMINISTRATIVE                            47,070              1.50         1.46       -2.74%
     93,201   BENEFITS                                         939,621             29.88        24.85      -20.24%
     21,092   CONTRACTED NURSING SERVICES LPN                  139,858              4.45         5.62       20.82%
        369   MEDICAL SUPPLIES & SERVICES                        7,170              0.23         0.10     -130.00%
      3,597   OTHER                                              5,505              0.18         0.96       81.25%
$   618,219          TOTAL NURSING & MEDICAL               $ 5,456,861     $      173.52   $   164.84       -5.27%

                THERAPY & ANCILLARIES

$    88,667   PAYROLL PHYSICAL THERAPY                     $   768,849     $       24.45   $    23.64       -3.43%
     64,137   PAYROLL OCCUPATIONAL THERAPY                     538,801             17.13        17.10       -0.18%
     28,589   BENEFITS                                         281,500              8.95         7.62      -17.45%
        206   PHYSICAL THERAPY SERVICES                          6,958              0.22         0.05     -340.00%
      1,237   OCCUPATIONAL THERAPY SERVICES                      6,201              0.20         0.33       39.39%
      4,086   THERAPEAUTIC SUPPLIES & SERVICES                  15,592              0.50         1.09       54.13%
     41,384   RX DRUGS                                         310,090              9.86        11.04       10.69%
      4,332   LABORATORY SERVICES & SUPPLIES                    47,291              1.50         1.16      -29.31%
      2,966   RADIOLOGY SERVICES & SUPPLIES                     28,964              0.92         0.79      -16.46%
     22,853   SUPPLIES                                         264,508              8.41         6.09      -38.10%
      2,402   PHARMACY CONSULTANT                               18,820              0.60         0.64        6.25%
     11,575   CONTRACTED SERVICES                              121,221              3.85         3.09      -24.60%
$   272,434        TOTAL THERAPY & ANCILLARIES             $ 2,408,795     $       76.59   $    72.65       -5.42%

                   SOCIAL SERVICES

$    12,097   PAYROLL                                      $     113,573   $        3.61   $     3.23      -11.76%
      2,150   BENEFITS                                            24,412            0.78         0.57      -36.84%
$    14,247           TOTAL SOCIAL SERVICES                $     137,985   $        4.39   $     3.80      -15.53%




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CURR. MTH.                                                        CUM.           PER DAY     PER DAY     % INC (DEC)
 09/01/21                                                        01/01/21        01/01/21    09/01/21     CUM. vs.
  9/30/21                   DEPARTMENT                           09/30/21        09/30/21    09/30/21    CURR MTH.

                 LEISURE TIME ACTIVITIES

$    22,415    PAYROLL                                       $     195,981   $        6.23   $    5.98       -4.18%
      4,247    BENEFITS                                             42,259            1.34        1.13      -18.58%
        -      CONTRACTED SERVICES                                     636            0.02         -        100.00%
      1,653    SUPPLIES & SERVICES                                  12,201            0.39        0.44       11.36%
      1,875    OTHER                                                 4,475            0.14        0.50       72.00%
$    30,190        TOTAL LEISURE TIME ACTIVITIES             $     255,552   $        8.12   $    8.05       -0.87%

                 CLEANLINESS & SAFETY

$    67,283    PAYROLL HOUSEKEEPING                          $   549,756     $       17.48   $   17.94        2.56%
     19,401    PAYROLL MAINTENANCE                               167,562              5.33        5.17       -3.09%
      3,565    PAYROLL LAUNDRY                                    24,798              0.79        0.95       16.84%
     16,963    BENEFITS                                          159,775              5.08        4.52      -12.39%
      2,510    MAINTENANCE SUPPLIES                               20,604              0.66        0.67        1.49%
      2,280    TRANSPORTATION                                      8,444              0.27        0.61       55.74%
      7,269    HOUSEKEEPING SUPPLIES                              46,820              1.49        1.94       23.20%
      7,189    MAINTENANCE SERVICES                              146,849              4.67        1.92     -143.23%
      6,744    LAUNDRY SUPPLIES & SERVICES                        83,108              2.64        1.80      -46.67%
$   133,204         TOTAL CLEANLINESS & SAFETY               $ 1,207,716     $       38.41   $   35.52       -8.14%

                   FOOD & NUTRITION

$    91,616    PAYROLL                                       $   775,957     $       24.67   $   24.43       -0.98%
     17,085    BENEFITS                                          167,014              5.31        4.56      -16.45%
        -      DIETICIAN                                          27,972              0.89         -        100.00%
     40,786    FOOD                                              262,778              8.36       10.88       23.16%
          48   PURCHASED SERVICES                                  2,096              0.07        0.01     -600.00%
      7,161    SUPPLIES                                           55,221              1.76        1.91        7.85%
$   156,696            TOTAL FOOD & NUTRITION                $ 1,291,038     $       41.06   $   41.79        1.75%




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 09/01/21                                                      01/01/21        01/01/21    09/01/21      CUM. vs.
  9/30/21                 DEPARTMENT                           09/30/21        09/30/21    09/30/21     CURR MTH.

              GENERAL & ADMINISTRATION

$    15,331   PAYROLL ADMIN & OPERATION                    $   138,681     $        4.41   $     4.09       -7.82%
      3,546   PAYROLL OFFICE FISCAL                             47,376              1.51         0.95      -58.95%
     17,864   PAYROLL OFFICE OTHER                             134,376              4.27         4.76       10.29%
      7,471   BENEFITS                                          84,929              2.70         1.99      -35.68%
      1,035   SUPPLIES & SERVICES                               14,304              0.45         0.28      -60.71%
     47,349   CONTRACTED SERVICES                              463,782             14.75        12.63      -16.79%
     26,000   INSURANCE - LIAB., MALP., ETC.                   234,000              7.44         6.93       -7.36%
     79,930   MANAGEMENT FEES                                  691,285             21.98        21.31       -3.14%
      5,497   ACCOUNTING FEES                                   81,648              2.60         1.47      -76.87%
        200   CONTRIBUTION                                         200              0.01         0.05       80.00%
     10,000   BAD DEBTS                                         90,000              2.86         2.67       -7.12%
      3,259   ADVERTISING                                       38,639              1.23         0.87      -41.38%
     46,480   STATE REVENUE ASSESSMENT                         326,328             10.38        12.39       16.22%
     90,830   LEGAL                                            526,878             16.75        24.22       30.84%
      1,235   BANK FEES                                          8,056              0.26         0.33       21.21%
      3,973   MISCELLANEOUS EXPENSES                            35,994              1.14         1.06       -7.55%
$   360,000      TOTAL GENERAL & ADMINISTRATION            $ 2,916,476     $       92.74   $    96.00        3.40%

               PROPERTY (NON-TRENDED)

$   506,097   RENT                                         $ 4,554,869     $      144.83   $   134.96       -7.31%
     12,610   EQUIPMENT RENTALS                                112,232              3.57         3.36       -6.25%
      2,340   INTEREST                                          22,573              0.72         0.62      -16.13%
     21,000   DEPRECIATION                                     189,000              6.01         5.60       -7.32%
      5,861   SALES TAX                                         76,666              2.44         1.56      -56.41%
     50,000   REAL ESTATE TAX                                  450,000             14.31        13.33       -7.35%
      5,000   PROPERTY INSURANCE                                45,000              1.43         1.33       -7.52%
$   602,908              TOTAL PROPERTY                    $ 5,450,340     $      173.31   $   160.76       -7.81%

              NON COMPARABLE (TRENDED)

$     3,750   MEDICAL DIRECTOR                             $      33,750   $        1.07   $     1.00       -7.00%
      2,400   DENTAL FEES                                         14,400            0.46         0.64       28.13%
     31,952   LIGHT, HEAT & POWER                                260,190            8.27         8.52        2.93%
$    38,102           TOTAL NON COMPARABLE                 $     308,340   $        9.80   $    10.16        3.54%




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                     EPIC REHABILITATION AND NURSING AT WHITE PLAINS
                                STATEMENT OF OPERATIONS - EXPENSES
                                  Nine Months Ended September 30, 2021

CURR. MTH.                                                      CUM.           PER DAY     PER DAY      % INC (DEC)
 09/01/21                                                      01/01/21        01/01/21    09/01/21      CUM. vs.
  9/30/21                 DEPARTMENT                           09/30/21        09/30/21    09/30/21     CURR MTH.
                            NON-SNF PROGRAMS

                             PAYROLL SUMMARY

$   122,221   DNS & RN SUPERVISORS                         $ 1,135,754     $       36.11   $    32.59      -10.80%
    143,744   L.P.N'S                                        1,190,656             37.86        38.33        1.23%
    208,064   AIDES & ORDERLIES                              1,814,696             57.70        55.48       -4.00%
     12,355   PAYROLL MDS COORDINATOR                          102,676              3.26         3.29        0.91%
      5,493   NURSING ADMINISTRATIVE                            47,070              1.50         1.46       -2.74%
     88,667   PHYSICAL THERAPY                                 768,849             24.45        23.64       -3.43%
     64,137   OCCUPATIONAL THERAPY                             538,801             17.13        17.10       -0.18%
     91,616   DIETARY                                          775,957             24.67        24.43       -0.98%
     22,415   RECREATION                                       195,981              6.23         5.98       -4.18%
     67,283   HOUSEKEEPING                                     549,756             17.48        17.94        2.56%
     19,401   MAINTENANCE                                      167,562              5.33         5.17       -3.09%
      3,565   LAUNDRY                                           24,798              0.79         0.95       16.84%
      8,083   MEDICAL RECORDS                                   73,855              2.35         2.16       -8.80%
     12,097   SOCIAL SERVICES                                  113,573              3.61         3.23      -11.76%
     15,331   ADMINISTRATION                                   138,681              4.41         4.09       -7.82%
      3,546   OFFICE FISCAL                                     47,376              1.51         0.95      -58.95%
     17,864   ADMINISTRATIVE & OFFICE OTHER                    134,376              4.27         4.76       10.29%
$   905,882           TOTAL PAYROLL SUMMARY                $ 7,820,417     $      248.66   $   241.55       -2.94%

                        CONTRACTED LABOR SUMMARY

$    21,092   NURSING                                      $     139,858   $        4.45   $     5.62       20.82%
        206   PHYSICAL THERAPY                                     6,958            0.22         0.05     -340.00%
      1,237   OCCUPATIONAL THERAPY                                 6,201            0.20         0.33       39.39%
     11,575   ANCILLARY SERVICES                                 121,221            3.85         3.09      -24.60%
        -     ACTIVITIES                                             636            0.02          -        100.00%
$    34,110     TOTAL CONTRACTED LABOR SUMMARY             $     274,874   $        8.74   $     9.09        3.85%

                             BENEFITS SUMMARY

$    67,250   FICA                                         $   577,903     $       18.38   $    17.93       -2.51%
      4,695   UNEMPLOYMENT INSURANCE                           114,098              3.63         1.26     -188.10%
        684   DISABILITY                                         1,569              0.05         0.18       72.22%
     11,000   WORKMEN'S COMPENSATION                           101,153              3.22         2.93       -9.90%
      2,450   NON UNION PENSION                                 14,454              0.46         0.65       29.23%
     78,293   HEALTH INSURANCE                                 838,845             26.67        20.88      -27.73%
      2,989   MTA COMMUTER TAX                                  25,684              0.82         0.80       -2.50%
      2,345   OTHER BENEFITS                                    25,804              0.82         0.63      -30.16%
$   169,706           TOTAL BENEFITS SUMMARY               $ 1,699,510     $       54.05   $    45.26      -19.42%




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                   EPIC REHABILITATION AND NURSING AT WHITE PLAINS
                                      % OF BENEFITS TO PAYROLL
                                 Nine Months Ended September 30, 2021

CURR. MTH.                                                  CUM.          PER DAY     PER DAY    % INC (DEC)
 09/01/21                                                  01/01/21       01/01/21    09/01/21    CUM. vs.
  9/30/21                DEPARTMENT                        09/30/21       09/30/21    09/30/21   CURR MTH.

    18.73%       % OF BENEFITS TO PAYROLL                      21.73%        N/A        N/A           3.00%




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                                       Pg SNF,  LLC
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                 EPIC REHABILITATION AND NURSING AT WHITE PLAINS
                                        CENSUS SUMMARY
                                        September 30, 2021

                                Nine Months Ended September 30, 2021
                   MEDICAID      MEDICARE PRIVATE OTHER INS                                    AVG.
                   RESIDENT       RESIDENT RESIDENT RESIDENT                                   BED
     MONTH           DAYS           DAYS       DAYS       DAYS       TOTAL         OCC PCTG.   OCC.

JAN 2021                 678          1,498        120           103      2,399     48.37%      77.0
FEB 2021                 794          1,988         88           262      3,132     69.91%     112.0
MAR 2021               1,522          1,501        169           288      3,480     70.16%     112.0
APRIL 2021             1,806          1,318         68           196      3,388     70.58%     113.0
MAY 2021               1,748          1,404        163           446      3,761     75.83%     121.0
JUNE 2021              1,942          1,155        210           442      3,749     78.10%     125.0
JULY 2021              1,831          1,241        420           461      3,953     79.70%     128.0
AUG 2021               2,172          1,102        149           415      3,838     77.38%     124.0
SEPT 2021              1,729          1,281        345           395      3,750     78.13%     125.0
    YTD TOTAL         14,222         12,488      1,732         3,008     31,450     72.00%     115.0

PAYOR MIX             45.22%         39.71%      5.51%         9.56%    100.00%      YTD

                                One Month Ended September 30, 2021
SEPT 2021              1,729         1,281       345          395         3,750     78.13%     125.0
CURR TOTAL             1,729         1,281       345          395         3,750     78.13%     125.0

PAYOR MIX             46.11%         34.16%      9.20%        10.53%    100.00%      PER.


# OF SNF BEDS:            160




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Form                                             1065                                            U.S. Return ofPg 27 of 63
                                                                                                                 Partnership  Income                                                                    OMB No. 1545-0123

Department of the Treasury
Internal Revenue Service
                                                                          For calendar year 2020, or tax year beginning

                                                                                        I
                                                                                                                                                   , 2020, ending
                                                                                            Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                                  , 20     .
                                                                                                                                                                                                            À¾¶´
A Principal business activity                                                     Name of partnership                                                                                           D Employer identification number


NURSING CARE                                                                     HBL SNF LLC                                                                                                          XX-XXXXXXX
B Principal product or service                                           Type        Number, street, and room or suite no. If a P.O. box, see instructions.                                     E Date business started

                                                                           or
NURSING CARE
                                                                         Print
                                                                                 1280 ALBANY POST ROAD                                                                                                05/10/2019
C Business code number                                                            City or town, state or province, country, and ZIP or foreign postal code                                      F Total assets
                                                                                                                                                                                                  (see instructions)

                                                 623000                          CROTON HDSN, NY                              10520                                                               $              7,076,115.
G Check applicable boxes:                                                        (1)          Initial return    (2)        Final return (3)           Name change (4)             Address change (5)               Amended return
H Check accounting method: (1)                                                                Cash              (2)    X   Accrual           (3)            I
                                                                                                                                                      Other (specify)
    I
 J Check if Schedules C and M-3 are attached                                                         m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m Im m m m m m m m m m m 3m m m m m m m m I X
   Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year


 K Check if partnership: (1)                                                      Aggregated activities for section 465 at-risk purposes (2)                  Grouped activities for section 469 passive activity purposes
Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
                                                                          mmmmmmmmmmmmmmmmmmmmm
                                                                            1a       10,477,237.
                                                                           mmmmmmmmmmmmmmmmmmmm
      1a Gross receipts or sales
                                                                            1b
                                                                                   mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
       b Returns and allowances
                                                                                                        1c         10,477,237.
                                                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
       c Balance. Subtract line 1b from line 1a
                                                                                                         2
                                                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
      2 Cost of goods sold (attach Form 1125-A)
 Income




                                                                                                         3         10,477,237.
                                                                                                                                                          mmmmmm
      3 Gross profit. Subtract line 2 from line 1c
                                                                                                         4
                                                                                                      mmmmmmmmmmmmmmmmmmmmmmm
      4 Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)
                                                                                                         5
                                                                                                                               mmmmmmmmmmmmmmm
      5 Net farm profit (loss) (attach Schedule F (Form 1040))
                                                                                                         6
                                                                                   m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
      6 Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797)
      7 Other income (loss) (attach statement)                                SEE STATEMENT 1            7               167,336.
                                                                                                         8         10,644,573.
                                                                                                                                  mmmmmmmmmmmmmm
      8 Total income (loss). Combine lines 3 through 7
                                                                                                         9           6,737,392.
                                                                                mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
      9 Salaries and wages (other than to partners) (less employment credits)
 Deductions (see instructions for limitations)




                                                                                                        10
                                                                            mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    10 Guaranteed payments to partners
                                                                                                        11
                                                                   mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    11 Repairs and maintenance
                                                                                                        12
                                                                 mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    12 Bad debts
                                                                                                        13           6,105,558.
                                                                        mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    13 Rent
                                                                              SEE STATEMENT 1           14           1,302,865.
                                                                            mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    14 Taxes and licenses
                                                                              SEE STATEMENT 1           15                       NONE
                                                                                         mmmmmmmmm
    15 Interest (see instructions)
    16 a Depreciation (if required, attach Form 4562)                      16a            492,181.
                                                                                                       16c               492,181.
                                                                                                 mmmmmmmmmmmmmmmmmmmmmmmmm
       b Less depreciation reported on Form 1125-A and elsewhere on return 16b
                                                                                                        17
                                                                          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    17 Depletion (Do not deduct oil and gas depletion.)
                                                                                                        18
                                                                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    18 Retirement plans, etc.
                                                                                                        19               611,329.
                                                                                  mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    19 Employee benefit programs
                                                                              SEE STATEMENT 1           20           3,136,294.
                                                                                                                                                                   mmm
    20 Other deductions (attach statement)
                                                                                                        21         18,385,619.
                                                                                                                      mmmmmmmmmmmmmmmmmm
    21 Total deductions. Add the amounts shown in the far right column for lines 9 through 20
                                                                                                        22         -7,741,046.
                                                                                                                                                                         m
    22 Ordinary business income (loss). Subtract line 21 from line 8
                                                                                                        23
                                                                                                                                                               mmmm
    23 Interest due under the look-back method - completed long-term contracts (attach Form 8697)
 Tax and Payment




                                                                                                        24
                                                                                                    mmmmmmmmmmmmmmmmmmmmmmmm
    24 Interest due under the look-back method - income forecast method (attach Form 8866)
                                                                                                        25
                                                                              mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    25 BBA AAR imputed underpayment (see instructions)
                                                                                                        26
                                                                                         mmmmmmmmmmmmmmmmmmmmmmmmmmmm
    26 Other taxes (see instructions)
                                                                                                        27
                                                                            mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    27 Total balance due. Add lines 23 through 26
                                                                                                        28
                                                                                                                               mmmmmmmmmmmmmmm
    28 Payment (see instructions)
                                                                                                        29
                                                                                                                            mmmmmmmmmmmmmmmm
    29 Amount owed. If line 28 is smaller than line 27, enter amount owed
    30 Overpayment. If line 28 is larger than line 27, enter overpayment                                30
                                                                Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                                and belief, it is true, correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                            which preparer has any knowledge.
                                                                                                                                                                                            May the IRS discuss this return with
                                                                                                                            MEMBER                                                          the preparer shown below? See
Here
                                                                 M     Signature of partner or limited liability company member
                                                                                                                               LIZER JOZEFOVIC
                                                                                                                                                              M      09/07/2021
                                                                                                                                                                    Date
                                                                                                                                                                                                 instructions.
                                                                                                                                                                                                                   X     Yes       No

                                                                Print/Type preparer's name                            Preparer's signature                                 Date                                   PTIN
                                                                                                                                                                                               Check       if
Paid                                                            WAYNE I ROBINSON                                                                                           09/07/2021          self-employed      P00190944
Preparer                                                        Firm's name      I          HORAN, MARTELLO, MORRONE PC                                                                        Firm's EIN   I    XX-XXXXXXX
Use Only                                                        Firm's address   I          527 TOWNLINE ROAD
                                                                                            HAUPPAUGE, NY 11788
                                                                                                                                                                                               Phone no.
                                                                                                                                                                                                631-265-6289
For Paperwork Reduction Act Notice, see separate instructions.                                                                                                                                                    Form 1065 (2020)
JSA                                              0P1010 1.000
                                                     3707PS               516H              09/07/2021 15:46:40                                                                                                      12
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Form 1065 (2020)    HBL SNF LLC                                                                                              XX-XXXXXXX              Page    2
Schedule B         Other Information
 1  What type of entity is filing this return? Check the applicable box:                                                                       Yes No
     a    Domestic general partnership                 b       Domestic limited partnership
     c X Domestic limited liability company            d       Domestic limited liability partnership
     e    Foreign partnership
 2 At the end of the tax year:
                                                       f       Other   I
  a Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
    exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
    loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
    B-1, Information on Partners Owning 50% or More of the Partnership         mmmmmmmmmmmmmmmmmmmmmmmmmmm                                               X
  b Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
    the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
    on Partners Owning 50% or More of the Partnership         mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                       X
 3 At the end of the tax year, did the partnership:
  a Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of

                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
    If "Yes," complete (i) through (iv) below                                                                                                            X
                          (i) Name of Corporation                       (ii) Employer Identification          (iii) Country of       (iv) Percentage
                                                                              Number (if any)                 Incorporation        Owned in Voting Stock




     b Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,

                                                                                                                                   mmmm
       or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
       interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below                              X
                                                                  (ii) Employer                                                         (v) Maximum
                         (i) Name of Entity                                                (iii) Type of         (iv) Country of
                                                                  Identification                                                    Percentage Owned in
                                                                 Number (if any)                Entity            Organization      Profit, Loss, or Capital




 4   Does the partnership satisfy all four of the following conditions?                                                                        Yes No
   a The partnership's total receipts for the tax year were less than $250,000.
   b The partnership's total assets at the end of the tax year were less than $1 million.
   c Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
     extensions) for the partnership return.
   d The partnership is not filing and is not required to file Schedule M-3  mmmmmmmmmmmmmmmmmmmmmmmmmmmm
     If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
                                                                                                                                                         X
     or item L on Schedule K-1.
 5                                                                          mmmmmmmmmmmmmmmmmmmmm
     Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                                                 X
 6   During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
     so as to reduce the principal amount of the debt?     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                        X
 7   Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide

 8
     information on any reportable transaction?         mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
     At any time during calendar year 2020, did the partnership have an interest in or a signature or other authority over
                                                                                                                                                         X
     a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
     See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and

 9
     Financial Accounts (FBAR). If "Yes," enter the name of the foreign country        I
     At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
                                                                                                                                                         X
     transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
     Transactions W ith Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions              mmmmmmmmmmmmmmmmm                             X
10 a Is the partnership making, or had it previously made (and not revoked), a section 754 election?
     See instructions for details regarding a section 754 election.
                                                                                                               mmmmmmmmmmmmm                             X
   b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
     attach a statement showing the computation and allocation of the basis adjustment. See instructions                   mmmmmmmmm                     X
                                                                                                                                     Form   1065      (2020)
JSA
0P1020 1.000
           3707PS         516H         09/07/2021 15:46:40                                                                                    13
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Form 1065 (2020)    HBL SNF LLC                                Pg 29 of 63                                        XX-XXXXXXX                 Page   3
Schedule B           Other Information (continued)
                                                                                                                                       Yes    No
      c Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a
        substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
        734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions                 X
 11     Check this box if, during the current or prior tax year, the partnership distributed any property received in a like-
        kind exchange or contributed such property to another entity (other than disregarded entities wholly owned by the
        partnership throughout the tax year)       m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m mI
 12     At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
        undivided interest in partnership property?      mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                            X
 13     If the partnership is required to file Form 8858, Information Return of U.S. Persons W ith Respect To Foreign

                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmI
        Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
        instructions
 14  Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
                                                                                  I
     Information Statement of Section 1446 W ithholding Tax, filed for this partnership                                                        X
                      mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmI
 15 Enter the number of Forms 8865, Return of U.S. Persons W ith Respect to Certain Foreign Partnerships, attached
     to this return
                                                                                                    mmmmmmmmmmm                         X
                                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
 16a Did you make any payments in 2020 that would require you to file Form(s) 1099? See instructions
   b If "Yes," did you or will you file required Form(s) 1099?                                                                          X
                                   mmmmmmmmmmmmmmmmmmmmmmmmmI
 17 Enter the number of Forms 5471, Information Return of U.S. Persons W ith Respect To Certain Foreign
     Corporations, attached to this return
                                                                             mmI
 18 Enter the number of partners that are foreign governments under section 892
 19 During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
     and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?   mmmmmmmm                             X
 20 Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions for Form 8938            X
                                                                                                      mmmmmmmmmm
 21 Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1(b)(14)?                                      X
 22 During the tax year, did the partnership pay or accrue any interest or royalty for which one or more partners are

                                                m mm mm mm mm mm mm mm mm mm m Im m m m m m m m m m m m m m m m m m m m m
     not allowed a deduction under section 267A? See instructions                                                                              X
     If "Yes," enter the total amount of the disallowed deductions                              $

                                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
 23 Did the partnership have an election under section 163(j) for any real property trade or business or any farming
     business in effect during the tax year? See instructions                                                                                  X
                                                                        mmmmmmmmmmmmmmmmmmmmmmmm
 24 Does the partnership satisfy one or more of the following? See instructions                                                         X
   a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest expense.
   b The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
     preceding the current tax year are more than $26 million and the partnership has business interest.
   c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
     If "Yes" to any, complete and attach Form 8990.
 25     Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions.                   X

                mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmI
        If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
        line 3
        If "No," complete Designation of Partnership Representative below.
Designation of Partnership Representative (see instructions)
Enter below the information for the partnership representative (PR) for the tax year covered by this return.
Name of PR     I WESTCHESTER HEALTH CARE
U.S. address of PR
                    M PURDYS, NY 10578
                      537 RT. 22                                                               U.S. phone number of
                                                                                               PR                      M (631)       265-6289
If the PR is an entity, name of the designated individual for the PR   I   LIZER JOZEFOVIC
U.S. address of
designated individual   M   53 MARINER WAY
                            MONSEY, NY 10952                                                               M (631) 265-6289
                                                                                               U.S. phone number of
                                                                                               designated individual
                                                                                                mmmmmmmmmmmmmmmmmmmm    X
 26
        If "Yes," enter the amount from Form 8996, line 16             mmmmmmmmmmmmmmm I
        Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?
                                                                                           $
 27
                                                                                    mmmmI
        Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
        interest in the partnership or of receiving a distribution from the partnership
 28
        disclosure requirements of Regulations section 1.707-8?           mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
        At any time during the tax year, were there any transfers between the partnership and its partners subject to the
                                                                                                                                               X
 29     Since December 22, 2017, did a foreign corporation directly or indirectly acquire substantially all of the properties
        constituting a trade or business of your partnership, and was the ownership percentage (by vote or value) for
        purposes of section 7874 greater than 50% (for example, the partners held more than 50% of the stock of
        the foreign corporation)? If "Yes," list the ownership percentage by vote and by value. See instructions.
        Percentage:                                                         By Vote                 By Value                                   X
                                                                                                                              Form    1065 (2020)
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           3707PS           516H        09/07/2021 15:46:40                                                                            14
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Form 1065 (2020)                  HBL SNF LLC                                       Pg 30 of 63                                                                 XX-XXXXXXX                    Page 4
Schedule K                            Partners' Distributive Share Items                                                                                                     Total amount
                           1
                           2
                               Ordinary business income (loss) (page 1, line 22)
                               Net rental real estate income (loss) (attach Form 8825)
                                                                                         m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm      1
                                                                                                                                                                      2
                                                                                                                                                                             -7,741,046.
                           3a  Other gross rental income (loss)    mmmmmmmmmmmmmmmmmmm                                        3a
                             b Expenses from other rental activities (attach statement)            mmmmmm                     3b

                           4
                             c Other net rental income (loss). Subtract line 3b from line 3a             mmmmmmmmmmmmmmmmmmm                                         3c

                                                              mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                               Guaranteed payments: a Services 4a                            b Capital                        4b
   Income (Loss)




                               c Total. Add lines 4a and 4b                                                                                                          4c
                           5 Interest income   m m m m m m m m m m m m m m m m m m m m m m m m m m m m m STATEMENT
                                                                                                 SEE                    m m m m m m m m m m 2m m m m                 5                    408.
                           6 Dividends and dividend equivalents: a Ordinary dividends              mmmmmmmmmmmmmmmmmmmmm                                             6a

                                            mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                               b Qualified dividends 6b                         c Dividend equivalents                        6c
                           7 Royalties                                                                                                                               7

                                                                                                                  m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
                           8 Net short-term capital gain (loss) (attach Schedule D (Form 1065))                                                                      8
                           9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                                                                     9a
                             b Collectibles (28%) gain (loss) mmmmmmmmmmmmmmmmmmmmm                                           9b
                             c Unrecaptured section 1250 gain (attach statement)              mmmmmmmm                        9c
                          10 Net section 1231 gain (loss) (attach Form 4797)             mmmmmmmmmmmmmmmmmmmmmmmmm                                                   10
                          11 Other income (loss) (see instructions) Type
                          12     Section 179 deduction (attach Form 4562)
                                                                                Im m m m m m m m m m m m m m m m m m m m m m m m m m m m                             11
                                                                                                                                                                     12
                                              mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
    Deductions




                          13 a   Contributions                                                                                                                      13a
                             b   Investment interest expense  mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                  13b
                             c
                             d
                                 Section 59(e)(2) expenditures:    (1) Type
                                 Other deductions (see instructions) Type
                                                                                  II                                                       (2) Amount          I    13c(2)

                                                                                                                                                                    13d          32,964.
                                                                               m m m m m m m m m m m SEE    m m m m STATEMENT
                                                                                                                        m m m m m m m m m m 3m m m m                         -7,741,046.
 Employ-




                          14 a Net earnings (loss) from self-employment                                                                                             14a
                                                                  m m  m  m m m  m  m m m  m m m  m  m  m  m   m m  m  m  mm mm mm mm mm mm mm mm mm m4m mm mm mm
  ment
  Self-




                                                       m m m m m m m m m m m m m m m m m m m m m mSEE         m m m mSTATEMENT
                             b Gross farming or fishing income                                                                                                      14b
                             c Gross nonfarm income                                                                                                                 14c      10,644,573.
                                                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmm                                                    15a
                                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                          15 a   Low-income housing credit (section 42(j)(5))
                                                                                                                                                                    15b
                                                                                                                                                           mmm
                             b   Low-income housing credit (other)
   Credits




                             c   Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable)                                       15c
                             d   Other rental real estate credits (see instructions) Type           I                                                               15d
                             e
                             f
                                 Other rental credits (see instructions) Type
                                 Other credits (see instructions) Type    I         I                                                                               15e
                                                                                                                                                                    15f
                          16 a
                             b
                                 Name of country or U.S. possession
                                 Gross income from all sources
                                                                       I
                                                                mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                 16b
                             c   Gross income sourced at partner level     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                          16c

                                                                                                                            mmmmmmmmmmmI
                                 Foreign gross income sourced at partnership level
   Foreign Transactions




                            d    Reserved for future useI                            e Foreign branch category                                                      16e
                            f                  I
                                 Passive category                 g General category
                                 Deductions allocated and apportioned at partner level
                                                                                       I              h Other (attach statement)                               I    16h

                             i                  I
                                 Interest expense                                         j Other        mmmmmmmmmmmmmmmmmI                                         16j

                                                                                                                            mmmmmmmmmmmI
                                 Deductions allocated and apportioned at partnership level to foreign source income
                            k    Reserved for future useI                            l Foreign branch category                                                      16l
                            m                  I
                                 Passive category                n General category     I                               m   m  m
                                                                                                      o Other (attach statement)
                                                                                                                                  m  m  m  m  m  m  m   m  m  mIm   16o
                            p
                            q
                                 Total foreign taxes (check one): I       Paid
                                 Reduction in taxes available for credit (attach statement)        mmmmmmmmmmmmmmmmmmmmm
                                                                                             Accrued                                                                16p
                                                                                                                                                                    16q
                            r    Other foreign tax information (attach statement)
                          17 a   Post-1986 depreciation adjustment      mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                            17a
                                                     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
Minimum Tax
(AMT) Items
 Alternative




                             b   Adjusted gain or loss                                                                                                              17b
                             c
                             d
                                 Depletion (other than oil and gas)  m m m m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
                                 Oil, gas, and geothermal properties - gross income
                                                                                                                                                                    17c
                                                                                                                                                                    17d


                                                                        m m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
                             e   Oil, gas, and geothermal properties - deductions                                                                                   17e
                             f   Other AMT items (attach statement)                                                                                                 17f
                                                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                   18a
                                                          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                          18 a   Tax-exempt interest income
    Other Information




                                                                                                                                                                    18b
                                                          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
                             b   Other tax-exempt income
                                                                                                                                                                    18c
                                                                                       mmmmmmmmmmmmmmmmmmmmmmmmmm
                             c   Nondeductible expenses
                          19 a                                                                                                                                      19a
                                                                m m m m m m m m m m m m m m m m m SEE       m m m m m m m m m m m m m m 4m m m m
                                 Distributions of cash and marketable securities
                             b                                                                                                                                      19b
                                                   m m m m m m m m m m m m m m m m m m m m m m m m m m m STATEMENT      mmmmmmmmmmmmmm
                                 Distributions of other property
                          20 a   Investment income                                                                                                                  20a                   408.
                             b
                             c
                                 Investment expenses m m m m m m m m m m m m m m m m m m m m m m SEE
                                 Other items and amounts (attach statement)
                                                                                                            m m m m STATEMENT
                                                                                                                        m m m m m m m m m m 4m m m m                20b

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Form 1065 (2020)    HBL SNF LLC                                      Pg 31 of 63                                                        XX-XXXXXXX                 Page   5
Analysis of Net Income (Loss)
 1
        Schedule K, lines 12 through 13d, and 16p               mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
        Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of
                                                                                                                                         1        -7,773,602.
 2      Analysis by                     (i) Corporate         (ii) Individual     (iii) Individual      (iv) Partnership           (v) Exempt              (vi)
        partner type:                                             (active)            (passive)                                    Organization       Nominee/Other

     a General partners
     b Limited partners                                                                                      -7,773,602.
Schedule L             Balance Sheets per Books                               Beginning of tax year                                      End of tax year
                                Assets                                      (a)                   (b)                              (c)                      (d)
               mmmmmmmmmmmmmmmmmmmmm                                                          1,279,097.                                               950,116.
                                        mmmmmm
 1      Cash
                                                                                                                           2,577,260.
                              mmmmmmmmmm
 2a Trade notes and accounts receivable
                                                                                                                             179,669.               2,397,591.
                  mmmmmmmmmmmmmmmmmm
     b Less allowance for bad debts
                                                                                                                                                       30,041.
                             mmmmmmmmmm
 3      Inventories


                       mmmmmmmmmmmmm
 4      U.S. government obligations


                                             mmmmm
 5      Tax-exempt securities
 6      Other current assets (attach statement)                      STMT 5                          729,469.                                       1,309,238.

                                 mmmmmmmmm
 7a Loans to partners (or persons related to partners)


                                          mmmmmm
     b Mortgage and real estate loans
        Other investments (attach statement)
                                            mmmmm
 8
 9a Buildings and other depreciable assets                           2,001,713.                                            2,600,017.
                                mmmmmmmmm                                                     2,001,713.                     252,808.               2,347,209.
                     mmmmmmmmmmmmmmm
     b Less accumulated depreciation


                            mmmmmmmmmm
10 a Depletable assets


                                mmmmmmmmm
     b Less accumulated depletion


                                       mmmmmmm
11      Land (net of any amortization)


                                 mmmmmmmmm
12 a Intangible assets (amortizable only)


                                  mmmmmmmm
     b Less accumulated amortization
                                                                     STMT 5                                                                            41,920.
                  mmmmmmmmmmmmmmmmmm
13      Other assets (attach statement)
14      Total assets                                                                          4,010,279.                                            7,076,115.

                     mmmmmmmmmmmmmmm
                       Liabilities and Capital
                                                                                                     537,272.                                       1,287,920.
                                                      mm
15      Accounts payable
16                                                                                                                                                     58,511.
                                                  mmm
        Mortgages, notes, bonds payable in less than 1 year
                                                                     STMT 5                          52,846.                                          983,958.
                       mmmmmmmmmmmmm
17      Other current liabilities (attach statement)


                                                      mm
18      All nonrecourse loans
                                                                                              2,200,000.                                           2,170,000.
                                                      mm
19 a Loans from partners (or persons related to partners)
                                                                                                                                                     236,182.
                                     mmmmmmm
     b Mortgages, notes, bonds payable in 1 year or more
                                                                     STMT 5                  3,061,360.                                           11,894,642.
                         mm mm mm mm mm mm mm mm mm mm mm
20      Other liabilities (attach statement)
21      Partners' capital accounts                                                          -1,841,199.                                           -9,555,098.
22      Total liabilities and capital                                                        4,010,279.                                            7,076,115.
Schedule M-1                  Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                              Note: The partnership may be required to file Schedule M-3. See instructions.
 1     Net income (loss) per books      mmmmmmm                                       6 Income recorded on books this year not included
                                                                                          on Schedule K, lines 1 through 11 (itemize):
 2     Income included on Schedule K, lines 1, 2, 3c,
       5, 6a, 7, 8, 9a, 10, and 11, not recorded on                                    a Tax-exempt interest $
       books this year (itemize):
 3     Guaranteed payments (other than health                                         7   Deductions included on Schedule K, lines


 4
       insurance)   mmmmmmmmmmmmmmm
       Expenses recorded on books this year
                                                                                          1 through 13d, and 16p, not charged
                                                                                          against book income this year (itemize):
       not included on Schedule K, lines 1                                             a Depreciation $
       through 13d, and 16p (itemize):
     a Depreciation $
     b Travel and entertainment $                                                     8   Add lines 6 and 7    mmmmmmmmmmmmm
 5     Add lines 1 through 4        mmmmmmmmm                                                                             mm
                                                                                      9 Income (loss) (Analysis of Net Income
                                                                                        (Loss), line 1). Subtract line 8 from line 5
Schedule M-2                  Analysis of Partners' Capital Accounts
                                       mmmmmm                 -1,841,199. 6                                      mmmmmmmmmmm
                                       mmmmmm
 1      Balance at beginning of year                                                      Distributions: a Cash
                                                                                                                   mmmmmmmmm
                                        mmmmm
 2      Capital contributed: a Cash                                                                    b Property


                                       mmmmmm
                                b Property                                            7   Other decreases (itemize):
                                                              -7,681,595.                   SEE STATEMENT 5                                           91,755.
                                                                                                               mmmmmmmmmmmmm
 3      Net income (loss) per books
                                                                                                                                                      91,755.
                                    mmmmmmmmm
 4      Other increases (itemize):                                                    8   Add lines 6 and 7
 5      Add lines 1 through 4                                 -9,522,794.             9   Balance at end of year. Subtract line 8 from line 5     -9,614,549.
JSA                                                                                                                                                  Form   1065   (2020)
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SCHEDULE C
(Form 1065)                           Additional Information for Schedule M-3 Filers
(Rev. December 2014)
Department of the Treasury
Internal Revenue Service       I                     I Attach to Form 1065. See separate instructions.
                                   Information about Schedule C (Form 1065) and its instructions is at www.irs.gov/form1065.
                                                                                                                                   OMB No. 1545-0123



Name of partnership                                                                                             Employer identification number

                      HBL SNF LLC                                                                                        XX-XXXXXXX
                                                                                                                                                 Yes No
  1    At any time during the tax year, were there any transfers between the partnership and its partners subject to the
       disclosure requirements of Regulations section 1.707-8?          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                            X
  2    Does any amount reported on Schedule M-3, Part II, lines 7 or 8, column (d), reflect allocations to this partnership
       from another partnership of income, gain, loss, deduction, or credit that are disproportionate to this partnership's
       share of capital in such partnership or its ratio for sharing other items of such partnership?      mmmmmmmmmmmmmmmmm                           X
  3    At any time during the tax year, did the partnership sell, exchange, or transfer any interest in an intangible asset to
       a related person as defined in sections 267(b) and 707(b)(1)?          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                         X
  4    At any time during the tax year, did the partnership acquire any interest in an intangible asset from a related
       person as defined in sections 267(b) and 707(b)(1)?          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                              X
  5    At any time during the tax year, did the partnership make any change in accounting principle for financial
       accounting purposes? See instructions for a definition of change in accounting principle          mmmmmmmmmmmmmmmmmm                            X
       At any time during the tax year, did the partnership make any change in a method of accounting for U.S. income
                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
  6
       tax purposes?                                                                                                                                   X
For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                       Schedule C (Form 1065) (Rev. 12-2014)




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SCHEDULE M-3                                 Net Income (Loss) Reconciliation                                                     OMB No. 1545-0123
(Form 1065)
                                                  for Certain Partnerships
Department of the Treasury
Internal Revenue Service            I                         IAttach to Form 1065.
                                        Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                      À¾¶´
Name of partnership                                                                                               Employer identification number

                         HBL SNF LLC                                                                                     XX-XXXXXXX
This Schedule M-3 is being filed because (check all that apply):
 A          The amount of the partnership's total assets at the end of the tax year is equal to $10 million or more.
 B     X    The amount of the partnership's adjusted total assets for the tax year is equal to $10 million or more. If box B is checked,
            enter the amount of adjusted total assets for the tax year           16,631,213..
 C          The amount of total receipts for the tax year is equal to $35 million or more. If box C is checked, enter the total receipts for
            the tax year                                .
 D          An entity that is a reportable entity partner with respect to the partnership owns or is deemed to own an interest of 50% or
            more in the partnership's capital, profit, or loss on any day during the tax year of the partnership.
                    Name of Reportable Entity Partner                           Identifying Number           Maximum Percentage Owned or
                                                                                                                   Deemed Owned




 E             Voluntary filer.
  Part I          Financial Information and Net Income (Loss) Reconciliation
 1a Did the partnership file SEC Form 10-K for its income statement period ending with or within this tax year?
           Yes. Skip lines 1b and 1c and complete lines 2 through 11 with respect to that SEC Form 10-K.
      X No. Go to line 1b. See instructions if multiple non-tax-basis income statements are prepared.
   b Did the partnership prepare a certified audited non-tax-basis income statement for that period?
           Yes. Skip line 1c and complete lines 2 through 11 with respect to that income statement.
      X No. Go to line 1c.
   c Did the partnership prepare a non-tax-basis income statement for that period?
           Yes. Complete lines 2 through 11 with respect to that income statement.
      X No. Skip lines 2 through 3b and enter the partnership's net income (loss) per its books and records on line 4a.
 2 Enter the income statement period: Beginning                                        Ending
 3a Has the partnership's income statement been restated for the income statement period on line 2?
           Yes. (If "Yes," attach a statement and the amount of each item restated.)
           No.
   b Has the partnership's income statement been restated for any of the 5 income statement periods immediately preceding the period on line 2?
           Yes. (If "Yes," attach a statement and the amount of each item restated.)
           No.
 4a Worldwide consolidated net income (loss) from income statement source identified in Part I, line 1 4a                       -7,681,595.
   b Indicate accounting standard used for line 4a. See instructions.
     1    X GAAP                   2         IFRS                      3           Section 704(b)
     4          Tax-basis          5         Other (specify)   I
                                                       mmmmmmmmmmmmmmmmmm                                           5a (                            )
                                                                                    mmm
 5a Net income from nonincludible foreign entities (attach statement)
                                                                                                                    5b
                                                     mmmmmmmmmmmmmmmmmmmm
  b Net loss from nonincludible foreign entities (attach statement and enter as a positive amount)
                                                                                                                    6a (                            )
                                                                              mmmmm
 6a Net income from nonincludible U.S. entities (attach statement)
                                                                                                                    6b
                                                            mmmmmmmmmmmmmm
  b Net loss from nonincludible U.S. entities (attach statement and enter as a positive amount)
                                                                                                                    7a
                                                         mmmmmmmmmmmmmmmm
 7 a Net income (loss) of other foreign disregarded entities (attach statement)
   b Net income (loss) of other U.S. disregarded entities (attach statement)                                        7b

                             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
 8 Adjustment to eliminations of transactions between includible entities and nonincludible entities

                                                                  mmmmmmmmmmm
     (attach statement)                                                                                              8

                                                          m m m m m m m m m m m mm mm mm mm
 9 Adjustment to reconcile income statement period to tax year (attach statement)                                    9
10 Other adjustments to reconcile to amount on line 11 (attach statement)                                           10
11 Net income (loss) per income statement of the partnership. Combine lines 4a through 10                           11          -7,681,595.
     Note: Part I, line 11, must equal Part II, line 26, column (a); or Form 1065, Schedule M-1, line 1. See instructions.
12 Enter the total amount (not just the partnership's share) of the assets and liabilities of all entities included or removed on the following lines.
                                                    Total Assets                         Total Liabilities
  a Included on Part I, line 4
  b Removed on Part I, line 5
  c Removed on Part I, line 6
  d Included on Part I, line 7
For Paperwork Reduction Act Notice, see the instructions for your return.                                            Schedule M-3 (Form 1065) 2020
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Schedule M-3 (Form 1065) 2020                                                                                                                      Page   2
Name of partnership                                                                                                      Employer identification number

                             HBL SNF LLC                                                                                 XX-XXXXXXX
Part II               Reconciliation of Net Income (Loss) per Income Statement of Partnership With Income (Loss) per
                      Return
                                                                      (a)                     (b)             (c)                        (d)
              Income (Loss) Items                               Income (Loss) per         Temporary       Permanent               Income (Loss) per
                                                                Income Statement          Difference      Difference                 Tax Return
       Attach statements for lines 1 through 10.
 1
                       mmmmmmmmmmmm
       Income (loss) from equity method foreign
       corporations



                                 mm
 2     Gross foreign dividends not previously taxed

 3     Subpart F, QEF, and similar income inclusions

 4     Gross foreign distributions previously taxed



                     mmmmmmmmmmm
 5     Income (loss) from equity method U.S. corporations




                             mmm
 6     U.S. dividends



                               mm
 7     Income (loss) from U.S. partnerships
 8     Income (loss) from foreign partnerships



                  mmmmmmmmmmmmmm
 9     Income (loss) from other pass-through



                               mm
       entities



                           mmmmm
10     Items relating to reportable transactions
                                                                               408.                                                               408.
                           mmmmm
11     Interest income (see instructions)



                       mmmmmmmmm
12     Total accrual to cash adjustment



                          mmmmmm(
13     Hedging transactions



                             m mm mm
14     Mark-to-market income (loss)

15     Cost of goods sold (see instructions)                                          )                                     (                             )

                          mmmmmm
16     Sale versus lease (for sellers and/or lessors)



                          mmmmmm
17     Section 481(a) adjustments

18     Unearned/deferred revenue

19     Income recognition from long-term contracts



                  mmmmmmmmmmmmmm
20     Original issue discount and other imputed

       interest

21a Income statement gain/loss on sale,
    exchange, abandonment, worthlessness,
    or other disposition of assets other than
    inventory and pass-through entities         mmmm
     b Gross capital gains from Schedule D, exclu-
       ding amounts from pass-through entities
     c Gross capital losses from Schedule D,
                                                  mm
       excluding amounts from pass-through

       stock losses   mmmmmmmmmmmm
       entities, abandonment losses, and worthless


     d Net gain/loss reported on Form 4797, line
       17, excluding amounts from pass-through


                      m m m mm mm mm mm mm mm mm mm mm
       entities, abandonment losses, and worthless
       stock losses



                                                   mm
     e Abandonment losses

     f Worthless stock losses (attach statement)



                        mmmmmmmmmmm
     g Other gain/loss on disposition of assets other

       than inventory



                          mmmmmmmmmm
22 Other income (loss) items with differences

       (attach statement)



                      mmmmmmmmmmmm
23 Total income (loss) items. Combine lines 1

       through 22                                                              408.                                                               408.

                                      m m m m 6m m
24 Total expense/deduction items. (From Part
                                                                    -220,505.                  -92,007.                                -312,512.
                                         mmmmm
       III, line 31) (see instructions)
25 Other items with no differences   STMT                         -7,461,498.                                                        -7,461,498.
26 Reconciliation totals. Combine lines 23 through 25             -7,681,595.                  -92,007.                              -7,773,602.
       Note: Line 26, column (a), must equal Part I, line 11, and column (d) must equal Form 1065, Analysis of Net Income (Loss), line 1.
                                                                                                                          Schedule M-3 (Form 1065) 2020




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Schedule M-3 (Form 1065) 2020                                                                                                                   Page 3
Name of partnership                                                                                                  Employer identification number

                              HBL SNF LLC                                                                             XX-XXXXXXX
 Part III            Reconciliation of Net Income (Loss) per Income Statement of Partnership With Income (Loss) per
                     Return - Expense/Deduction Items
                                                                        (a)             (b)               (c)                        (d)
          Expense/Deduction Items                                   Expense per     Temporary         Permanent                 Deduction per
                                                                 Income Statement   Difference        Difference                 Tax Return

 1     State and local current income tax expense        m
 2     State and local deferred income tax expense



                             mmmmm
 3     Foreign current income tax expense (other



                               mmm
       than foreign withholding taxes)



                            mmmmmm
 4     Foreign deferred income tax expense



                           mmmmmmm
 5     Equity-based compensation



                         mmmmmmmmm
 6     Meals and entertainment



                                 m
 7     Fines and penalties



                          mmmmmmmm
 8     Judgments, damages, awards, and similar costs



                           mmmmmmm
 9     Guaranteed payments



                             mmmmm
10     Pension and profit-sharing



                          mmmmmmmm
11     Other post-retirement benefits

12     Deferred compensation



                     mmmmmmmmmmmmm
13     Charitable contribution of cash and tangible

       property

14     Charitable contribution of intangible property



                        mmmmmmmmmm
15     Organizational expenses as per Regulations

       section 1.709-2(a)



                        mmmmmmmmmm
16     Syndication expenses as per Regulations

       section 1.709-2(b)



                          mmmmmmmm
17     Current       year     acquisition/reorganization

       investment banking fees



                         mmmmmmmmm
18     Current year acquisition/reorganization legal



                               mmm
       and accounting fees

19     Amortization/impairment of goodwill



                        mmmmmmmmmm
20     Amortization of acquisition, reorganization,

       and start-up costs



                          mmmmmmmm
21     Other amortization or impairment write-offs



                         mmmmmmmmm
22     Reserved for future use



                             mmmmm
23 a Depletion - oil & gas
     b Depletion - other than oil & gas



                      mmmmmmmmmmmm
24     Intangible drilling and development costs (IDC)
                                                                        220,505.        271,676.                                      492,181.
                        mmmmmmmmmm
25     Depreciation
                                                                                       -179,669.                                     -179,669.
                              mmmm
26     Bad debt expense

27     Interest expense (see instructions)



                     mmmmmmmmmmmmm
28     Purchase versus lease (for purchasers an d/



                              mmmm
       or lessees)

29     Research and development costs



                            mmmmmm
30     Other      expense/deduction        items     with

       differences (attach statement)
31      Total expense/deduction items. Combine lines 1
        through 30. Enter here and on Part II, line 24,


        amounts as positive   mmmmmmmmmm
        reporting positive amounts as negative and negative
                                                                        220,505.          92,007.                                      312,512.
                                                                                                                      Schedule M-3 (Form 1065) 2020




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                                                            Pg 36 of 63 to Schedule M-3
Form     8916-A                           Supplemental Attachment
                                          I
(Rev. November 2019)                                                                                                                   OMB No. 1545-0123
                                               Attach to Schedule M-3 for Form 1065, 1120, 1120-L, 1120-PC, or 1120-S.
Department of the Treasury
Internal Revenue Service
Name of common parent
                                                      I  Go to www.irs.gov/Form1120 for the latest information.
                                                                                                                         Employer identification number
                          HBL SNF LLC                                                                                     XX-XXXXXXX
Name of subsidiary                                                                                                       Employer identification number



Part I         Cost of Goods Sold
                                                          (a)                        (b)                       (c)                            (d)
         Cost of Goods Sold Items                     Expense per                Temporary                 Permanent                   Deduction per Tax
                                                   Income Statement              Difference                Difference                      Return


                              mmmmmmm
 1       Amounts attributable to cost
         flow assumptions


 2       Amounts attributable to:


     a                   mmmmm
         Stock option expense


                     mmmmmmmmm
     b   Other equity-based
         compensation


     c                     mmm
         Meals and entertainment


     d                  mmmmmm
         Parachute payments


                       mmmmmmm
     e   Compensation with section
         162(m) limitation


     f                     mmm
         Pension and profit sharing


     g                       m
         Other post-retirement benefits


     h                    mmmm
         Deferred compensation


     i   Reserved  mmmmmmmmmmm
     j   Amortizationmmmmmmmmm
     k   Depletion mmmmmmmmmmm
     l   Depreciationmmmmmmmmm
                   mmmmmmmmmmm
     m Corporate-owned life insurance
         premiums


     n                     mmm
         Other section 263A costs


 3                          mm
         Inventory shrinkage accruals
 4       Excess inventory and


 5
                         mmmmm
         obsolescence reserves
         Lower of cost or market write-


 6
         downs    mmmmmmmmmmmm
         Other items with differences
                       mmmmmmm
         (attach statement)


 7       Other items with no differences
 8       Total cost of goods sold. Add
         lines 1 through 7 in columns
         a, b, c, and d. Enter totals on the

                      mmmmmmmmmm
         applicable Schedule M-3. See
         instructions
For Paperwork Reduction Act Notice, see instructions.                                                                           Form   8916-A (Rev. 11-2019)

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                                                      Pg 37 of 63
Form 8916-A (Rev. 11-2019)     HBL SNF LLC                                                          XX-XXXXXXX            Page   2
Part II          Interest Income
                                                      (a)                  (b)          (c)                       (d)
               Interest Income Item         Income (Loss) per Income   Temporary    Permanent              Income (Loss) per
                                                  Statement            Difference   Difference                Tax Return

1     Tax-exempt interest
      income
2     Interest income from hybrid
      securities

3     Sale/lease interest income

4a Intercompany interest
      income - From outside tax
      affiliated group
4b Intercompany interest
      income - From tax
      affiliated group


5     Other interest income
                         STMT         7                      408.                                                         408.
6     Total interest income. Add
      lines 1 through 5 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M-3.
      See instructions.                                      408.                                                         408.
Part III         Interest Expense
                                                      (a)                  (b)          (c)
                                              Expense per Income       Temporary    Permanent                  (d)
            Interest Expense Item
                                                  Statement            Difference   Difference       Deduction per Tax Return

1     Interest expense from
      hybrid securities
2     Lease/purchase interest
      expense
3a Intercompany interest
      expense - Paid to outside
      tax affiliated group
3b Intercompany interest
      expense - Paid to tax
      affiliated group


4     Other interest expense

5     Total interest expense. Add
      lines 1 through 4 in columns
      a, b, c, and d. Enter total on
      the applicable Schedule M-3.
      See instructions.
                                                                                                    Form   8916-A   (Rev. 11-2019)




JSA

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                                                                               Depreciation and Amortization
    Form        4562                                                                                                                                                                             OMB No. 1545-0172

                                                                                (Including Information on Listed Property)
                                                                                                  I                                                                                                 À¾¶´
                                                              I
    Department of the Treasury                                                          Attach to your tax return.
                                                                                                                                                                                                  Attachment
    Internal Revenue Service   (99)                                Go to www.irs.gov/Form4562 for instructions and the latest information.                                                        Sequence No. 179
    Name(s) shown on return                                                                                                                                                                    Identifying number

    HBL SNF LLC                                                                                                                                                                                XX-XXXXXXX
    Business or activity to which this form relates

    HBL SNF LLC
    Part I Election To Expense Certain Property Under Section 179
           Note: If you have any listed property, complete Part V before you complete Part I.
     1       Maximum amount (see instructions)             mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                                       1           1,040,000.
     2       Total cost of section 179 property placed in service (see instructions)       mmmmmmmmmmmmmmmmmmmmmmmm                                                                       2
     3       Threshold cost of section 179 property before reduction in limitation (see instructions)         mmmmmmmmmmmmmmm                                                             3           2,590,000.

                                             m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
                                                                                                 m m m m m m
     4       Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0-                                                                                             4
     5       Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing
             separately, see instructions                                                                                                                                                 5           1,040,000.
     6                                         (a) Description of property                                                (b) Cost (business use only)             (c) Elected cost




     7       Listed property. Enter the amount from line 29                      mmmmmmmmmmmmmmmmmmmmmm                                             7
     8       Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7    mmmmmmmmmmmmmmmm                                                                     8
     9       Tentative deduction. Enter the smaller of line 5 or line 8               mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                      9
    10       Carryover of disallowed deduction from line 13 of your 2019 Form 4562            mmmmmmmmmmmmmmmmmmmmmm                                                                    10            1,020,000.

                                                                                                      m m m m m m m m m m m m m m mm
    11       Business income limitation. Enter the smaller of business income (not less than zero) or line 5. See instructions                                                          11                  NONE
    12       Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11
                                                                                                mmm I
                                                                                                                                                                                        12
    13  Carryover of disallowed deduction to 2021. Add lines 9 and 10, less line 12                                                                13
    Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II            Special Depreciation Allowance and Other Depreciation (Don't include listed property. See instructions.)
    14       Special depreciation allowance for qualified property (other than listed property) placed in service
             during the tax year. See instructions                   mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                                              350,251.

                                                                     m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm
                                                                                                                                                                                          14
    15       Property subject to section 168(f)(1) election                                                                                                                               15
    16       Other depreciation (including ACRS)                                                                                                                                          16
    Part III           MACRS Depreciation (Don't include listed property. See instructions.)
                                                                                                                Section A
    17       MACRS deductions for assets placed in service in tax years beginning before 2020               mmmmmmmmmmmmmmmmm                                                           17                133,670.

                                                      m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m m mI
    18       If you are electing to group any assets placed in service during the tax year into one or more general
             asset accounts, check here
                                   Section B - Assets Placed in Service During 2020 Tax Year Using the General Depreciation System
                                                                        (b) Month and year            (c) Basis for depreciation (d) Recovery
                   (a) Classification of property                            placed in               (business/investment use                            (e) Convention         (f) Method     (g) Depreciation deduction
                                                                                                                                    period
                                                                              service                  only - see instructions)
*   19a        3-year property
         b     5-year property
         c     7-year property
         d 10-year property
         e 15-year property                                                                                         248,054. 15.000                         HY                  S/L                           8,260.
         f 20-year property
         g 25-year property                                                                                                              25 yrs.                                    S/L
         h Residential rental                                                                                                           27.5 yrs.              MM                   S/L
           property                                                                                                                     27.5 yrs.              MM                   S/L
         i Nonresidential real                                                                                                           39 yrs.               MM                   S/L
           property                                                                                                                                            MM                   S/L
                                Section C - Assets Placed in Service During 2020 Tax Year Using the Alternative Depreciation System
    20a Class life                                                                                                                                                                  S/L
         b 12-year                                                                                                                       12 yrs.                                    S/L
         c 30-year                                                                                                                       30 yrs.               MM                   S/L
         d 40-year                                                                                                                       40 yrs.               MM                   S/L
    Part IV Summary (See instructions.)
    21       Listed property. Enter amount from line 28                       mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                                      21


                                                                                                        mmmmmmmmmm
    22   Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21. Enter
         here and on the appropriate lines of your return. Partnerships and S corporations - see instructions                                                                                             492,181.
                                                                                   mmmmmmmmmmmmmmmmmm
                                                                                                                                                                                        22
    23 For assets shown above and placed in service during the current year, enter the
         portion of the basis attributable to section 263A costs                                        23
    For Paperwork Reduction Act Notice, see separate instructions.           * SEE DETAIL                                                                                                            Form   4562    (2020)
    JSA       0X2300 3.000
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HBL SNF LLC                                                          Pg 39 of 63                         XX-XXXXXXX
Form 4562 (2020)                                                                                               Page 2
Part V         Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
24a Do you have evidence to support the business/investment use claimed?                            Yes           No        24b     If "Yes," is the evidence written?                       Yes               No
               (a)                          (b)            (c)                                              (e)                   (f)                 (g)                    (h)                      (i)
                                                        Business/            (d)                   Basis for depreciation
      Type of property (list            Date placed                                                                         Recovery             Method/               Depreciation      Elected section 179
         vehicles first)                 in service   investment use Cost or other basis           (business/investment
                                                                                                                             period             Convention              deduction               cost
                                                        percentage                                       use only)

25 Special depreciation allowance for qualified listed property placed in service during
   the tax year and used more than 50% in a qualified business use. See instructions
26 Property used more than 50% in a qualified business use:
                                                                                                                            mmmmmmmmmm                        25


                                                                       %
                                                                       %
                                                                       %
27 Property used 50% or less in a qualified business use:
                                                                       %                                                                      S/L -
                                                                       %                                                                      S/L -
                                                                       %                                                                      S/L -


                                                                                                    m m m m m m m m mm mm mm mm mm mm mm mm mm mm m m m m m m m m
28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1                                                                          28
29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                                                                            29
                                                          Section B - Information on Use of Vehicles
Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.
                                                                              (a)                    (b)                    (c)                       (d)                    (e)                      (f)
                                                                           Vehicle 1             Vehicle 2             Vehicle 3                 Vehicle 4              Vehicle 5                  Vehicle 6

                                  mmm
30 Total business/investment miles driven during
   the year (don't include commuting miles)

            other    personal
                                    m
31 Total commuting miles driven during the year
32 Total                        (noncommuting)
   miles driven   mmmmmmmmmmmmmmmmmmm
33 Total miles driven during the year. Add
   lines 30 through 32mmmmmmmmmmmmmmm                                  Yes          No        Yes          No       Yes           No          Yes           No         Yes         No     Yes               No
34 Was the vehicle available for personal
                         mmmmmmmmmmmm
   use during off-duty hours?
35 Was the vehicle used primarily by a more
                             mmmmmmmm
   than 5% owner or related person?

             mmmmmmmmmmmmmmmmmmmmmmmm
36 Is another vehicle available for personal
   use?
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
more than 5% owners or related persons. See instructions.
                                                                                                                     Yes   No
                                 mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by
   your employees?
38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
                                                                                  mmmmmmmm
   employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners
                                                          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
39 Do you treat all use of vehicles by employees as personal use?
40 Do you provide more than five vehicles to your employees, obtain information from your employees about the
                                                       mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
   use of the vehicles, and retain the information received?
                                                                               mmmmmmmmmmm
41 Do you meet the requirements concerning qualified automobile demonstration use? See instructions
   Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
Part VI Amortization
                                                                                                                                                                 (e)
                                                                 (b)                              (c)                                                                                        (f)
                               (a)                                                                                                      (d)                 Amortization
                                                        Date amortization
                     Description of costs                                               Amortizable amount                    Code section                   period or        Amortization for this year
                                                             begins
                                                                                                                                                            percentage
42 Amortization of costs that begins during your 2020 tax year (see instructions):



43 Amortization of costs that began before your 2020 tax year
44 Total. Add amounts in column (f). See the instructions for where to report
                                                                                       m m m m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm            43
                                                                                                                                                                       44
JSA                                                                                                                                                                                   Form    4562          (2020)

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                                                Limitation on Business Interest Expense
Form   8990                                               Under Section 163(j)                                                        OMB No. 1545-0123
(Rev. May 2020)
Department of the Treasury
Internal Revenue Service               I                        IAttach to your tax return.
                                           Go to www.irs.gov/Form8990 for instructions and the latest information.
Taxpayer name(s) shown on tax return                                                                                         Identification number

HBL SNF LLC                                                                                                                 XX-XXXXXXX
If Form 8990 relates to an information return for a foreign entity (for example, Form 5471), enter:
Name of foreign entity I
                                    I
Employer identification number, if any
Reference ID number
 Part I
                      I
               Computation of Allowable Business Interest Expense
 Part I is completed by all taxpayers subject to section 163(j). Schedule A and Schedule B need to be completed before Part I when the
 taxpayer is a partner or shareholder of a pass-through entity subject to section 163(j).

Section I - Business Interest Expense

   1    Current year business interest expense (not including floor plan

   2
        financing interest expense), before the section 163(j) limitation
        Disallowed business interest expense carryforwards from prior
                                                                                mmmm      1                  32,964.


   3
        years. (Does not apply to a partnership)         mmmmmmmmmmmmmmmmm
        Partner's excess business interest expense treated as paid or
                                                                                          2

        accrued in current year (Schedule A, line 44, column (h))   mmmmmmmm              3
   4    Floor plan financing interest expense. See instructions  m mm mm mm mm mm mm mm mm m m m m m m m m m m m m m
                                                                                          4
   5    Total business interest expense. Add lines 1 through 4                                                       I      5                32,964.
Section II - Adjusted Taxable Income

                                                                     Taxable Income

   6    Taxable income. See instructions            mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                    6        -7,773,602.
                                  Additions (adjustments to be made if amounts are taken into account on line 6)

   7    Any item of loss or deduction that is not properly allocable to a
        trade or business of the taxpayer. See instructions   mmmmmmmmmmm                 7
   8    Any business interest expense not from a pass-through entity. See
        instructions    mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                  8                     32,964.
  9
 10
        Amount of any net operating loss deduction under section 172
        Amount of any qualified business income deduction allowed under
                                                                                   mmmm   9



 11
        section 199A     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
        Deduction allowable for depreciation, amortization, or depletion
                                                                                          10



 12
        attributable to a trade or business. See instructions mmmmmmmmmmm
        Amount of any loss or deduction items from a pass-through entity.
                                                                                          11                  492,181.

        See instructions  mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                  12
 13
 14
                                    mmmmmmmmmmmmmmmmmmmmm
        Other additions. See instructions
        Total current year partner's excess taxable income (Schedule A, line
                                                                                          13



 15
        44, column (f))   mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
        Total current year S corporation shareholder's excess taxable
                                                                                          14



                                  m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm mm m m m m m m m m m m m m m I
        income (Schedule B, line 46, column (c))                                          15
 16     Total. Add lines 7 through 15                                                                                       16              525,145.
                                 Reductions (adjustments to be made if amounts are taken into account on line 6)

 17     Any item of income or gain that is not properly allocable to a trade

 18
                                               mmmmmmmmmmmmmm
        or business of the taxpayer. See instructions
        Any business interest income not from a pass-through entity. See
                                                                                 17 (                                  )



 19
        instructions    mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
        Amount of any income or gain items from a pass-through entity.
                                                                                 18 (                    408.          )

        See instructions  mmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                         19 (                                  )
 20                                 mmmmmmmmmmmmmmmmmmmm
        Other reductions. See instructions                                       20 (                                  )
 21                                  m m m m m m m m m m m m m m m m m m m m m m m m m mm mm mm mm mm mm mm I
        Total. Combine lines 17 through 20                                                                                  21 (                     408.)
 22     Adjusted taxable income. Combine lines 6, 16, and 21. (If zero or less, enter -0-.)
For Paperwork Reduction Act Notice, see the instructions.
                                                                                                            I               22
                                                                                                                                   Form   8990   (Rev. 5-2020)
JSA
0X4100 1.000


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Form 8990 (Rev. 5-2020)                                                                                                                                   Page   2
Section III - Business Interest Income

 23
 24
                                                      mmmmmmmm
        Current year business interest income. See instructions
        Excess business interest income from pass-through entities (total of
                                                                                               23



                                      mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm I
        Schedule A, line 44, column (g), and Schedule B, line 46, column (d))                  24
 25     Total. Add lines 23 and 24                                                                                                   25

Section IV - 163(j) Limitation Calculations

                                                      Limitation on Business Interest Expense

 26     Multiply adjusted taxable income (line 22) by the applicable
        percentage. See instructions    mmmmmmmmmmmmmmmmmmmmmmm                                26
 27     Business interest income (line 25)  mmmmmmmmmmmmmmmmmmmm                               27

                                          m m m m m m m mm mm mm mm mm mm mm mm mm mm mm mm mm mm m m m m m m m m m m m m m
 28     Floor plan financing interest expense (line 4)                                         28
 29     Total. Add lines 26, 27, and 28                                                                       I                      29                  NONE
                                                        Allowable Business Interest Expense

 30     Total current year business interest expense deduction. See instructions                  mmmmmmmmmmmmmm                     30                  NONE
                                                                        Carryforward
                                                                                                                                     SEE STATEMENT 8
 31     Disallowed business interest expense. Subtract line 29 from line 5. (If zero or less, enter -0-.)                     mmm    31      32,964.
Part II        Partnership Pass-Through Items
 Part II is only completed by a partnership that is subject to section 163(j). The partnership items below are allocated to the partners
 and are not carried forward by the partnership. See the instructions for more information.

                                                          Excess Business Interest Expense

 32     Excess business interest expense. Enter amount from line 31                 mmmmmmmmmmmmmmmmmmmm                             32            32,964.
                           Excess Taxable Income (If you entered an amount on line 32, skip lines 33 through 37.)

 33     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.)       mmmmmmmmmmmmmmm                          33
 34     Subtract line 33 from line 26. (If zero or less, enter -0-.)      mmmmmmmmmmmmmmmmmmmmmmmm                                   34


                                                                    m m m m m m m m m m m m m m m m m m mm mm mm mm mm mm mm mm mm
 35     Divide line 34 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.)                                   35
 36     Excess taxable income. Multiply line 35 by line 22                                                                           36

                                                          Excess Business Interest Income


                          mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
 37     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
        less, enter -0-.)                                                                                                            37
Part III       S Corporation Pass-Through Items
 Part III is only completed by S corporations that are subject to section 163(j). The S corporation items below are allocated to the
 shareholders. See the instructions for more information.

                                                                 Excess Taxable Income

 38     Subtract the sum of lines 4 and 25 from line 5. (If zero or less, enter -0-.)       mmmmmmmmmmmmmmm                          38
 39     Subtract line 38 from line 26. (If zero or less, enter -0-.)    mmmmmmmmmmmmmmmmmmmmmmmmm                                    39


                                                                    m m m m m m m m m m m m m m m m m m mm mm mm mm mm mm mm mm mm
 40     Divide line 39 by line 26. Enter the result as a decimal. (If line 26 is zero, enter -0-.)                                   40
 41     Excess taxable income. Multiply line 40 by line 22                                                                           41

                                                          Excess Business Interest Income

 42     Excess business interest income. Subtract the sum of lines 1, 2, and 3 from line 25. (If zero or
        less, enter -0-.) mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                                            42
                                                                                                                                          Form 8990 (Rev. 5-2020)




JSA

0X4101 1.000


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 SCHEDULE A               Summary of Partner's Section 163(j) Excess Items
 Any taxpayer that owns an interest in a partnership subject to section 163(j) should complete Schedule A before completing Part I.
                                                                     Excess Business Interest Expense                                                                 (h) Excess business           (i) Current year
                                                                                                                          (f) Current year       (g) Current year
                                                                                                                                                                    interest expense treated    excess business interest
     (a) Name of partnership              (b) EIN          (c) Current             (d) Prior               (e) Total           excess            excess business
                                                                                                                                                                       as paid or accrued        expense carryforward
                                                               year           year carryforward          ((c) plus (d))   taxable income         interest income
                                                                                                                                                                        (see instructions)           ((e) minus (h))




43




44    Total    mmmmmmmmI
 SCHEDULE B               Summary of S Corporation Shareholder's Excess Taxable Income and Excess Business Interest Income
Any taxpayer that is required to complete Part I and is a shareholder in an S corporation that has excess taxable income or excess business interest income should complete Schedule B
before completing Part I.

                                                                                                                                         (c) Current year excess                      (d) Current year excess
                               (a) Name of S corporation                                                (b) EIN
                                                                                                                                             taxable income                          business interest income


45




46 Total       mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmI
                                                                                                                                                                                               Form   8990 (Rev. 5-2020)




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0X4102 1.000
                                            21-22623-shl            Doc 1       Filed 11/01/21 Entered 11/01/21 15:45:28                        Main Document
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HBL SNF LLC                                                                               2020 Depreciation                                                                                    XX-XXXXXXX
 Description of Property
HBL SNF LLC                                                                               GENERAL TRADE OR BUSINESS
                                      Date                                  179 exp.                                Beginning      Ending                Con-                   M A Current
                                    placed in     Unadjusted        Bus.      reduc.    Basis       Basis for     Accumulated    Accumulated       Me-   ven-            ACRS  CRS -yr 179     Current-year
       Asset description             service      cost or basis      %       in basis Reduction   Depreciation    depreciation   depreciation     thod   tion    Life    class class expense   depreciation
   2019 MME COMP                   06/30/2019            17,024.     100.               17,024.                                                  200 DB HY                      5
   2019 MME                        06/30/2019            243,032.    100.              243,032.                                                  200 DB HY                      7
   2019 LEASEHOLD IMP              06/30/2019            241,656.    100.                              241,656.         8,047.         24,165.S/L        HY     15.000          15                   16,118.
   2019 INITIAL EQUIP              05/10/2019          1,500,000.    100.1020000.                      480,000.        68,592.        186,144. 200 DB HY                        7                   117,552.
   2020 LEASEHOLD IMP              06/30/2020            248,054.    100.                              248,054.                         8,260.S/L        HY     15.000          15                    8,260.
   2020 MME 10 YEAR                06/30/2020            332,142.    100.              332,142.                                                  200 DB HY                      7
   2020 MME COMP 5 YEAR            06/30/2020            18,109.     100.               18,109.                                                  200 DB HY                      5




                 mmmmmmmmmmmm
           mmmmmmmmmmmmmmmmmm
 Less: Retired Assets
 TOTALS                                                2,600,017.           1020000.   610,307.        969,710.        76,639.        218,569.                                                      141,930.
*Assets Retired
JSA
0X9027 1.000
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HBL SNF LLC                                                                             2020 Depreciation                                                                                  XX-XXXXXXX
 Description of Property
HBL SNF LLC                                                                              GENERAL TRADE OR BUSINESS
                                      Date                                 179 exp.                                Beginning      Ending               Con-                 M A Current
                                    placed in     Unadjusted        Bus.     reduc.    Basis       Basis for     Accumulated    Accumulated      Me-   ven-          ACRS  CRS -yr 179     Current-year
       Asset description             service      cost or basis      %      in basis Reduction   Depreciation    depreciation   depreciation    thod   tion   Life   class class expense   depreciation
    OTHER THAN LISTED
       GROSS                                           2,600,017.                                     969,710.        76,639.        218,569.                                                   141,930.
       LESS: RETIRED ASSETS
         SUBTOTAL:                                     2,600,017.                                     969,710.        76,639.        218,569.                                                   141,930.


    LISTED PROPERTY
       GROSS
       LESS: RETIRED ASSETS
         SUBTOTAL:




                 mmmmmmmmmmmm
     GROSS AMOUNTS                                     2,600,017.                                     969,710.        76,639.        218,569.


           mmmmmmmmmmmmmmmmmm
 Less: Retired Assets
 TOTALS                                                2,600,017.                                     969,710.        76,639.        218,569.                                                   141,930.
*Assets Retired
JSA
0X9027 1.000
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HBL SNF LLC                                                   2020 Alternative Minimum Tax Depreciation                                                                        XX-XXXXXXX
 Description of Property
HBL SNF LLC                                                                            GENERAL TRADE OR BUSINESS
                                     Date               AMT               AMT          AMT   AMT       AMT        AMT            Regular            Post-86        Leased         Real
                                   Placed in           basis for       accumulated      me- conven-            depreciation    depreciation       depreciation   pers. prop.    property
       Asset description            Service          depreciation      depreciation    thod   tion     life     deduction       deduction          adjustment    preference    preference
   2019 LEASEHOLD IMP              06/30/2019             241,656.            8,047.   S/L    HY      15.000         16,118.          16,118.
   2019 INITIAL EQUIP              05/10/2019             480,000.           68,592.   200 DB HY      7.000         117,552.         117,552.
   2020 LEASEHOLD IMP              06/30/2020             248,054.                     S/L    HY      15.000          8,260.           8,260.




                 mmmmmmmmmmm
           mmmmmmmmmmmmmmmmm
 Less: Retired Assets
 TOTALS                                                   969,710.           76,639.                                141,930.         141,930.
JSA
0X9034 1.000                      * Assets Retired
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                                                                                            Pg 46 of 63
HBL SNF LLC                                                                       2020 ACE Depreciation                                                                               XX-XXXXXXX
 Description of Property
HBL SNF LLC                                                                              GENERAL TRADE OR BUSINESS
                                                    Date               ACE                    ACE
                                                  placed in          basis for            accumulated            Me-       Orig.       Rem.        ACE               AMT**             ACE
                 Asset description                 service         depreciation           depreciation          thod       Life         Life   depreciation     depreciation used   adjustment
   2019 LEASEHOLD IMP                            06/30/2019               241,656.                8,047.       SL         15.000     15.000           16,118.            16,118.
   2019 INITIAL EQUIP                            05/10/2019               480,000.               68,592.       SL          7.000       7.000        117,552.            117,552.
   2020 LEASEHOLD IMP                            06/30/2020               248,054.                             SL         15.000     15.000            8,260.             8,260.




                 mmmmmmmmmmmmmmmmmmm
           mmmmmmmmmmmmmmmmmmmmmmmmm
 Less: Retired Assets
 TOTALS                                                                   969,710.               76,639.                                            141,930.            141,930.
*Assets Retired                               **In certain circumstances, this may be regular tax depreciation rather than AMT depreciation.
JSA
0X9033 1.000
                                                                                                CORPORATE PARTNERS' SHARE (FROM SCHEDULE K) .........................
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                                   Regulation Section 1.263(a)-1(f) - De Minimis
                                              Safe Harbor Election


               Taxpayer Name:         HBL SNF LLC

               Taxpayer Address:      1280 ALBANY POST ROAD CROTON HDSN, NY                     10520

               Taxpayer ID Number:    XX-XXXXXXX

               Year-End:              12/31/2020

               Under IRC Regulation Section 1.263(a)-1(f), the taxpayer hereby elects to apply the de minimis
               safe harbor election.




0XE147 1.000
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FORM 1065 SUPPORTING SCHEDULES
================================================================================

LINE 7 - PAGE 1 - OTHER INCOME(LOSS)
====================================
PROVIDER RELIEF FUNDS                                                      163,564.
MISCELLANEOUS                                                                3,772.
                                                                    ---------------
   TOTAL OTHER INCOME(LOSS)                                                167,336.
                                                                    ===============

LINE 14 - PAGE 1 - TAXES
========================
PAYROLL TAXES                                                              588,592.
LLC FEES                                                                       200.
SALES TAX                                                                   58,992.
REAL ESTATE TAX                                                            655,081.
                                                                    ---------------
   TOTAL TAXES                                                           1,302,865.
                                                                    ===============


LINE 15 - PAGE 1 - DEDUCTIBLE INTEREST EXPENSE NOT CLAIMED ELSEWHERE
====================================================================
INTEREST                                                                 32,964.
- DISALLOWED INTEREST FROM FORM 8990                                     32,964.
                                                                 ---------------
  TOTAL DEDUCTIBLE INTEREST EXPENSE                                         NONE
                                                                 ===============

LINE 20 - PAGE 1 - OTHER DEDUCTIONS
===================================
NURSING SUPPLIES & EXPENSES                                                 46,718.
CENTRAL MEDICAL SUPPLIES
LEISURE TIME ACTIVITIES                                                     14,428.
THERAPIES & ANCILLARIES                                                    954,122.
FOOD SERVICES                                                              254,747.
PLANT OPERATIONS AND MAINTENANCE
CLEANLINESS & SAFETY                                                       350,647.
LAUNDRY AND LINEN SERVICES
FISCAL EXPENSES
ADMINISTRATION EXPENSES                                                  1,053,620.
STATE REVENUE ASSESSMENT                                                    69,065.
TELEPHONE SERVICES
PROPERTY INSURANCE                                                          45,162.
MEDICAL DIRECTOR                                                            45,000.
EQUIPMENT RENTALS                                                           92,779.
SOCIAL SERVICES                                                                192.
DENTAL FEES                                                                  3,950.
LIGHT, HEAT & POWER                                                        205,864.
                                                                    ---------------
   TOTAL OTHER DEDUCTIONS                                                3,136,294.
                                                                    ===============



                                                                    STATEMENT   1
 0XX063 1.000                                                                       .
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FORM 1065 SUPPORTING SCHEDULES
================================================================================
SCHEDULE K - LINE 5 - INTEREST INCOME
=====================================
  OTHER INTEREST INCOME
  ---------------------
INTEREST                                                                             408.
                                                                          ---------------
  TOTAL INTEREST INCOME                                                              408.
                                                                          ===============

SCHEDULE K - LINE 13D - OTHER DEDUCTIONS
========================================
EXCESS BUSINESS INTEREST EXPENSE:
 FROM GENERAL TRADE OR BUSINESS                                                 32,964.
                                                                        ---------------
   TOTAL OTHER DEDUCTIONS                                                       32,964.
                                                                        ===============




                                                                        STATEMENT    2
 0XX063 1.000                                                                            .
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FORM 1065 SUPPORTING SCHEDULES
================================================================================
SCHEDULE K - LINE 14A - NET EARNINGS (LOSS) FROM SELF-EMPLOYMENT
================================================================
1A ORDINARY INCOME (LOSS) (SCHEDULE K, LINE 1). . . . . . . . . .              -7,741,046.
  B NET INCOME(LOSS) FROM CERTAIN RENTAL REAL ESTATE ACTIVITIES. .
  C NET INCOME (LOSS) FROM OTHER RENTAL ACTIVITIES . . . . . . . .
  D NET LOSS FROM FORM 4797, PART II, LINE 17, INCLUDED ON LINE 1A
    ABOVE. ENTER AS A POSITIVE AMOUNT. . . . . . . . . . . . . . .
  E COMBINE LINES 1A THROUGH 1D. . . . . . . . . . . . . . . . . .             -7,741,046.
2 NET GAIN FROM FORM 4797, PART II, LINE 17, INCLUDED ON LINE 1A
    ABOVE. . . . . . . . . . . . . . . . . . . . . . . . . . . . .
3A SUBTRACT LINE 2 FROM LINE 1E. IF LINE 1E IS A LOSS, INCREASE
    THE LOSS ON LINE 1E BY THE AMOUNT ON LINE 2. . . . . . . . . .             -7,741,046.
3B PART OF LINE 3A ALLOCATED TO LIMITED PARTNERS, ESTATES,
    TRUSTS, CORPORATIONS, EXEMPT ORGANIZATIONS, AND IRAS . . . . .
3C SUBTRACT LINE 3B FROM LINE 3A. IF LINE 3A IS A LOSS, REDUCE
    THE LOSS ON LINE 3A BY THE AMOUNT ON LINE 3B. INCLUDE EACH
    INDIVIDUAL GENERAL PARTNER'S SHARE ON LINE 14A OF SCHEDULE K-1             -7,741,046.
4A GUARANTEED PAYMENTS TO PARTNERS. . . . . . . . . . . . . . . .
  B PART OF LINE 4A ALLOCATED TO ESTATES, TRUSTS, CORPORATIONS,
    EXEMPT ORGANIZATIONS, AND IRAS . . . . . . . . . . . . . . . .
    PART OF LINE 4A ALLOCATED TO INDIVIDUAL LIMITED PARTNERS FOR
    OTHER THAN SERVICES . . . . . . . . . . . . . . . . . . . . .
  C SUBTRACT LINE 4B FROM LINE 4A. INCLUDE IN EACH INDIVIDUAL
    GENERAL PARTNER'S SHARE AND EACH INDIVIDUAL LIMITED PARTNER'S
    SHARE ON LINE 14A OF SCHEDULE K-1. . . . . . . . . . . . . . .
                                                                           ---------------
5    NET EARNINGS (LOSS) FROM SELF-EMPLOYMENT (LINE 3C + 4C)                   -7,741,046.
                                                                           ===============




                                                                         STATEMENT   3
 0XX063 1.000                                                                            .
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  HBL SNF LLC                            Pg 51 of 63                      XX-XXXXXXX
FORM 1065 SUPPORTING SCHEDULES
================================================================================
SCHEDULE K - LINE 14C - GROSS NONFARM INCOME
============================================
1A GROSS INCOME FROM NONFARM ACTIVITIES . . . . . . . . . . . . .             10,644,573.
 B NET INCOME (LOSS) FROM CERTAIN RENTAL REAL ESTATE ACTIVITIES .
 C NET INCOME (LOSS) FROM OTHER RENTAL ACTIVITIES . . . . . . . .
   LESS GUARANTEED PAYMENTS FROM SCHEDULE K, LINE 4C. . . . . . .
 D COMBINE LINES 1A - 1C. . . . . . . . . . . . . . . . . . . . .             10,644,573.
 E PART ALLOCATED TO PARTNERS WHO ARE ESTATES, TRUSTS,
   CORPORATIONS, EXEMPT ORGANIZATIONS, IRAS, OR LIMITED PARTNERS.
 F SUBTRACT LINE 1E FROM LINE 1D. . . . . . . . . . . . . . . . .             10,644,573.
4A GUARANTEED PAYMENTS TO PARTNERS. . . . . . . . . . . . . . . .
 B PART OF LINE 4A ALLOCATED TO ESTATES, TRUSTS, CORPORATIONS,
   EXEMPT ORGANIZATIONS, AND IRAS . . . . . . . . . . . . . . . .
   PART OF LINE 4A ALLOCATED TO INDIVIDUAL LIMITED PARTNERS FOR
   OTHER THAN SERVICES . . . . . . . . . . . . . . . . . . . . .
 C SUBTRACT LINE 4B FROM LINE 4A. INCLUDE IN EACH INDIVIDUAL
   GENERAL PARTNER'S SHARE AND EACH INDIVIDUAL LIMITED PARTNER'S
   SHARE ON LINE 14A OF SCHEDULE K-1. . . . . . . . . . . . . . .
                                                                          ---------------
5 GROSS NONFARM INCOME FOR SCHEDULE K, LINE 14C (LINE 1F + 4C)                10,644,573.
                                                                          ===============

SCHEDULE K - LINE 20A - INVESTMENT INCOME
=========================================
INTEREST INCOME                                                                    408.
                                                                        ---------------
   TOTAL INVESTMENT INCOME, SCHEDULE K, LINE 20A                                   408.
                                                                        ===============

SCHEDULE K - LINE 20C - OTHER
=============================
SEC 199A INFORMATION - QBI INCOME:
   TRADE/BUSINESS-ORD BUSINESS INCOME (LOSS)            -7,741,046.
   - TRADE/BUSINESS-OTHER DEDUCTIONS                        32,964.
 TOTAL TRADE/BUSINESS                                                       -7,774,010.
SEC 199A INFORMATION - W-2 WAGES:
 TRADE/BUSINESS                                                              6,737,392.
SEC 199A INFORMATION - UBIA:
 TRADE/BUSINESS                                                              2,600,017.
OTHER ITEMS NOT CARRYING TO SCHEDULE M-1:
 BEG OF YEAR TAX BASIS CAPITAL                                              -2,177,894.
 END OF YEAR TAX BASIS CAPITAL                                              -7,774,010.




                                                                        STATEMENT    4
 0XX063 1.000                                                                            .
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  HBL SNF LLC                            Pg 52 of 63                      XX-XXXXXXX
FORM 1065, SUPPORTING SCHEDULES
================================================================================
SCHEDULE L - LINE 6 - OTHER CURRENT ASSETS                BEGINNING           ENDING
==========================================            --------------- ---------------
PREPAID INSURANCE                                                26,299.         283,660.
PREPAID SERVICE CONTRACTS                                         2,485.           3,094.
SECURITY DEPOSITS                                                   685.           3,707.
PREPAID RENT                                                   700,000.          667,600.
PROVIDER RELIEF FUNDS                                                            102,642.
EXCHANGE                                                                           2,475.
DUE FROM THIRD PARTY PAYORS                                                      246,060.
                                                      --------------- ---------------
  TOTAL OTHER CURRENT ASSETS                                   729,469.        1,309,238.
                                                      =============== ===============

SCHEDULE L - LINE 13 - OTHER ASSETS                      BEGINNING          ENDING
===================================                   ---------------   ---------------
RESIDENT FUND                                                                   41,920.
                                                      ---------------   ---------------
   TOTAL OTHER ASSETS                                                           41,920.
                                                      ===============   ===============

SCHEDULE L - LINE 17 - OTHER CURRENT LIABILITIES    BEGINNING               ENDING
================================================---------------         ---------------
ACCRUED PAYROLL & TAXES                                  50,569.               471,990.
ACCRUED EXPENSES                                          2,277.                29,648.
PPP LOAN PAYABLE                                                               482,320.
                                                 ---------------        ---------------
  TOTAL OTHER CURRENT LIABILITIES                        52,846.               983,958.
                                                 ===============        ===============

SCHEDULE L - LINE 20 - OTHER LIABILITIES                 BEGINNING          ENDING
========================================              ---------------   ---------------
DUE TO RELATED PARTIES                                     3,061,360.       11,853,222.
RESIDENT FUND PAYABLE                                                           41,420.
                                                      ---------------   ---------------
   TOTAL OTHER LIABILITIES                                 3,061,360.       11,894,642.
                                                      ===============   ===============

SCHEDULE M-2 - LINE 7 - OTHER DECREASES
=======================================
PRIOR PERIOD ADJUSTMENT                                                         32,304.
TAX BASIS ADJUSTMENT                                                            59,451.
                                                                        ---------------
TOTAL OTHER DECREASES                                                           91,755.
                                                                        ===============




                                                                        STATEMENT    5
 0XX063 1.000                                                                            .
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 HBL SNF LLC                                 Pg 53 of 63                        XX-XXXXXXX

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 SCHEDULE M-3, PART II DETAIL


 LINE 25 - OTHER INCOME (LOSS) AND
 EXPENSE/DEDUCTION ITEMS WITH NO DIFFERENCES
 -------------------------------------------
 SALARIES                                                                         -6,737,392.
 RENT                                                                             -6,105,558.
 SALES TAX                                                                           -58,992.
 PAYROLL TAXES                                                                      -588,592.
 EMPLOYEE BENEFITS                                                                  -611,329.
 NURSING FACILITY                                                                    -46,718.
 THERAPY & ANCILLARIES                                                              -954,122.
 LEISURE TIME ACTIVITIES                                                             -14,428.
 PT SUPPLIES
 FOOD SERVICES                                                                      -254,747.
 PLANT OPERATIONS AND MAINTENANCE
 CLEANINESS & SAFETY                                                                -350,647.
 FISCAL EXPENSES
 ADMIN EXPENSES                                                                   -1,053,620.
 PUBLIC RELATIONS
 EQUIPMENT RENTALS                                                                   -92,779.
 INSURANCE                                                                           -45,162.
 INTEREST                                                                            -32,964.
 GROSS SALES                                                                      10,297,568.
 PROVIDER RELIEF FUND INCOME                                                         163,564.
 OTHER INCOME                                                                          3,772.
 SOCIAL SERVICES                                                                        -192.
 NON COMPARABLE                                                                     -254,814.
 STATE REVENUE ASSESSMENT                                                            -69,065.
 LLC FEES                                                                               -200.
 REAL ESTATE TAX                                                                    -655,081.
                                                                              ---------------
      TOTAL                                                                       -7,461,498.
                                                                              ===============




                                                                               STATEMENT     6
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===========================================================================================================================

  FORM 8916-A, PART II DETAIL



  LINE 5 - OTHER INTEREST INCOME
  ------------------------------

                                             INCOME (LOSS)             TEMPORARY            PERMANENT         INCOME (LOSS)
  DESCRIPTION                               PER INCOME STMT            DIFFERENCE           DIFFERENCE        PER TAX RETURN
  --------------------------------------------------------------------- ----------------------------------------------------
  INTEREST INCOME                                       408.                                                              408.
                                             ---------------       ---------------      ---------------       ---------------
      TOTAL                                             408.                                                              408.
                                             ===============       ===============      ===============       ===============




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HBL SNF LLC                                 XX-XXXXXXX        Pg 55 of 63
8990 LINE 30 BUSINESS INTEREST EXPENSE SUMMARY
========================================================================================================================

                                                   GROSS                     DEDUCTIBLE                      DISALLOWED
                                                   INTEREST EXPENSE          INTEREST EXPENSE                INTEREST EXPENSE
                                                   ----------------          ----------------                ----------------

ORDINARY BUSINESS INTEREST EXPENSE                         32,964.                      NONE                         32,964.
PTE BUSINESS INTEREST EXPENSE                                                           NONE                            NONE
RENTAL BUSINESS INTEREST EXPENSE
OTHER RENTAL BUSINESS INTEREST EXPENSE
FARM BUSINESS INTEREST EXPENSE
MULTIPLE TRADE INTEREST EXPENSE




DEDUCTIBLE 50% 2019 PARTNER'S EBIE FROM SCH A COL (D)




TOTAL                                                      32,964.                      NONE                         32,964.




                                                            STATEMENT   8                   40
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                                                                                       Pg 56 of 63
                                        Schedule K-1, Item L - Analysis of Partners Capital Accounts
     Partner         A. Capital Account at       B. Capital Contributed      C. Current Year         D. Other        E. Withdrawals and   F. Capital Account at
     Number           Beginning of Year              During Year            Net Income (Loss)   Increase/Decrease       Distributions         End of Year
               1        -1,841,199.                                          -7,681,595.               -91,755.                              -9,614,549.
               2
               3




     TOTALS             -1,841,199.                                          -7,681,595.               -91,755.                              -9,614,549.
    JSA


0P9040 2.000       HBL SNF LLC                                                                                  XX-XXXXXXX
                                                                                                                       41
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           HBL SNF LLC                                                         Pg 57 of 63
                                                                             XX-XXXXXXX


                                                                              Partner Summary
 Partner                                           Partner I.D.   Beginning        Capital       Property          Cash         Property          737
 Number                    Partner Name             Number         Capital       Contribution   Contribution   Distributions   Distribution   Distributions
       1     WESTCHESTER HEALTH CARE               XX-XXXXXXX     -1,841,199.
       2     HHHW LIQUIDATION TRUST                XX-XXXXXXX
       3     BETHEL NURSING HOME COMPANY, INC      XX-XXXXXXX




JSA
       Totals   mmmmmmmmmmmmmmmmmmmmmmmmmmm                       -1,841,199.

0P9048 1.000
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                                                                                  Pg 58 of 63                                                                                                            651119
                                                                                                                                 Final K-1                            Amended K-1                OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                     À¾¶´                                  Part III               Partner's Share of Current Year Income,
                                                                                                                                             Deductions, Credits, and Other Items
Department of the Treasury
                                                                                                                  1              Ordinary business income (loss)            15   Credits
Internal Revenue Service
                                                             For calendar year 2020, or tax year
                                                                                                                                              -7,741,046.
           beginning                                             ending                                           2              Net rental real estate income (loss)

Partner's Share of Income, Deductions,
Credits, etc.                                I
                       See separate instructions.
                                                                                                                  3              Other net rental income (loss)             16   Foreign transactions


      Part I        Information About the Partnership                                                        4a                  Guaranteed payments for services
 A       Partnership's employer identification number
XX-XXXXXXX                                                                                                   4b                  Guaranteed payments for capital
 B       Partnership's name, address, city, state, and ZIP code
HBL SNF LLC                                                                                                   4c                 Total guaranteed payments

1280 ALBANY POST ROAD
CROTON HDSN, NY 10520                                                                                             5              Interest income
 C
 D
         IRS Center where partnership filed return
                                                             I EFILE
                  Check if this is a publicly traded partnership (PTP)                                       6a
                                                                                                                             *
                                                                                                                                 Ordinary dividends
                                                                                                                                                           408.

      Part II       Information About the Partner
 E       Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)             1      6b                  Qualified dividends

XX-XXXXXXX
 F       Name, address, city, state, and ZIP code for partner entered in E. See instructions.                 6c                 Dividend equivalents                       17   Alternative minimum tax (AMT) items



WESTCHESTER HEALTH CARE                                                                                           7              Royalties

PROPERTIES I, LLC
537 RT. 22                                                                                                        8              Net short-term capital gain (loss)

PURDYS, NY 10578
G    X General partner or LLC                                        Limited partner or other LLC            9a                  Net long-term capital gain (loss)          18   Tax-exempt income and
                  member-manager                                     member                                                                                                      nondeductible expenses

 H1        X      Domestic partner                                   Foreign partner                         9b                  Collectibles (28%) gain (loss)

 H2               If the partner is a disregarded entity (DE), enter the partner's:
         TIN                                Name                                                              9c                 Unrecaptured section 1250 gain

 I1      What type of entity is this partner?                              LIMITED LIAB CO
                                                                                                             10                  Net section 1231 gain (loss)
 I2      If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
 J       Partner's share of profit, loss, and capital (see instructions):                                                                                                   19   Distributions
                        Beginning                                     Ending                                 11                  Other income (loss)

         Profit          100.000000                          %            100.000000                  %
         Loss            100.000000                          %            100.000000                  %
                          51.000000                                        51.000000                                                                                        20   Other information

                                                                                           mm
         Capital                                             %                                        %
         Check if decrease is due to sale or exchange of partnership interest                                12                  Section 179 deduction

 K       Partner's share of liabilities:                                                                                                                                A                                      408.
                                                                                     Ending                  13                  Other deductions

                          mmm
                                                  Beginning
         Nonrecourse                    $                                 $                                K*                                          32,964. Z *                     STMT

                        mmmmm
         Qualified nonrecourse


                        mmmmm
         financing                      $                                 $                                                                                             AH *           STMT
         Recourse                       $             5,851,478.          $         16,631,213.
                  Check this box if Item K includes liability amounts from lower tier partnerships.
                                                                                                             14                  Self-employment earnings (loss)

                                           mmmmmm
 L                            Partner's Capital Account Analysis
                                                                              -1,841,199.                  A                                  -7,741,046.
                                                      mm
         Beginning capital account                           $


                                                mmmm
         Capital contributed during the year                 $
         Current year net income (loss)                      $                -7,681,595.                  C                                  10,644,573.
                                                                                 -91,755.                    21


                                        m m mm mm mm mm mm
         Other increase (decrease) (attach explanation) $                                                                             More than one activity for at-risk purposes*
         Withdrawals & distributions                         $ (                                      )      22                       More than one activity for passive activity purposes*
         Ending capital account                              $                -9,614,549.                 *See attached statement for additional information.
                                                                                                          For IRS Use Only




 M       Did the partner contribute property with a built-in gain or loss?
                  Yes             X     No       If "Yes," attach statement. See instructions.
 N         Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)

                      mmmmmmmmmmmmm
                     mmmmmmmmmmmmmm
         Beginning                                           $
         Ending                                              $
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  HBL SNF LLC                            Pg 59 of 63                      XX-XXXXXXX
SCH K-1 SUPPORTING SCHEDULES PARTNER #          1 WESTCHESTER HEALTH CARE
================================================================================
ITEM L - OTHER INCREASE (DECREASE)
==================================
LESS: OTHER DECREASES TO PARTNER'S CAPITAL
  PRIOR PERIOD ADJUSTMENT                                                   32,304.
  TAX BASIS ADJUSTMENT                                                      59,451.
                                                                    ---------------
           TOTAL OTHER INCREASE (DECREASE)                                 -91,755.
                                                                    ===============
LINE 5 - INTEREST INCOME
========================
OTHER INTEREST INCOME
---------------------
  INTEREST                                                                     408.
                                                                    ---------------
  TOTAL INTEREST INCOME                                                        408.
                                                                    ===============

LINE 13 - OTHER DEDUCTIONS
==========================
K EXCESS BUSINESS INTEREST EXPENSE
-----------------------------------
   FROM TRADE\BUSINESS                                                      32,964.
                                                                    ---------------
  TOTAL BOX K                                                               32,964.
                                                                    ===============
LINE 20 - OTHER INFORMATION
===========================
AH OTHER INFORMATION:
---------------------
OTHER ITEMS NOT INCLUDED IN ITEM L, CURRENT YR INCR (DECR):
  BEG OF YEAR TAX BASIS CAPITAL                                         -2,177,894.
  END OF YEAR TAX BASIS CAPITAL                                         -7,774,010.




                                                                    STATEMENT   1
   0P9000 1.000
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Statement A - QBI Pass-through Entity Reporting                                          Pg 60 of 63
 Corporation's/Partnership's name: HBL SNF LLC                                                                             Corporation's/Partnership's EIN: XX-XXXXXXX
 Shareholder's/Partner's name: WESTCHESTER HEALTH CARE                                  Shareholder's/Partner's identifying number: XX-XXXXXXX

                                                                                        HBL SNF LLC

                                                                                        EIN: XX-XXXXXXX     EIN:                EIN:                 EIN:                EIN:                EIN:


                                                                                            PTP                    PTP                 PTP                  PTP                 PTP                 PTP


                                                                                            Aggregated             Aggregated          Aggregated           Aggregated          Aggregated          Aggregated


 Shareholder's/Partner's share of:                                                      X   SSTB                   SSTB                SSTB                 SSTB                SSTB                SSTB


 QBI or qualified PTP items. subject to shareholder/partner- specific determinations:         GTB


                                   mmmmmmmmmmmmmmmm
                   Ordinary business income (loss)                                          -7,741,046.


                             mmmmmmmmmmmmmmmmmmmmmm
                   Rental income (loss)


                              mmmmmmmmmmmmmmmmmmmmm
                   Royalty income (loss)


                               mmmmmmmmmmmmmmmmmmmm
                   Section 1231 gain (loss)


                             mmmmmmmmmmmmmmmmmmmmmm
                   Other income (loss)


                               mmmmmmmmmmmmmmmmmmmm
                   Section 179 deduction


                            mmmmmmmmmmmmmmmmmmmmmmm
                   Other deductions                                                               32,964.

 W-2 wages     mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm                                           6,737,392.


                       mmmmmmmmmmmmmmmmmmmmmmmmmmm
 UBIA of qualified property                                                                  2,600,017.

                      mmmmm
 Section 199A dividends




0X2047 2.000
                                                                                                                                                    45
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  HBL SNF LLC                            Pg 61 of 63                      XX-XXXXXXX
PARTNER WORKSHEET A DETAIL      PARTNER #       1 WESTCHESTER HEALTH CARE
================================================================================
ACTIVITY: HBL SNF LLC - SSTB
====================================================================
OTHER DEDUCTIONS
================
 EXCESS BUSINESS INTEREST EXPENSE                                                  32,964.
                                                                          ---------------
  TOTAL OTHER DEDUCTIONS                                                           32,964.
                                                                          ===============




                                                                         STATEMENT   1
   0P9000 1.000
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                                                                                                                             Final K-1                            Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                     À¾¶´                                  Part III           Partner's Share of Current Year Income,
                                                                                                                                         Deductions, Credits, and Other Items
Department of the Treasury
                                                                                                                  1          Ordinary business income (loss)         15   Credits
Internal Revenue Service
                                                             For calendar year 2020, or tax year

           beginning                                             ending                                           2          Net rental real estate income (loss)

Partner's Share of Income, Deductions,
Credits, etc.                                I
                       See separate instructions.
                                                                                                                  3          Other net rental income (loss)          16   Foreign transactions


      Part I        Information About the Partnership                                                        4a              Guaranteed payments for services
 A       Partnership's employer identification number
XX-XXXXXXX                                                                                                   4b              Guaranteed payments for capital
 B       Partnership's name, address, city, state, and ZIP code
HBL SNF LLC                                                                                                   4c             Total guaranteed payments

1280 ALBANY POST ROAD
CROTON HDSN, NY 10520                                                                                             5          Interest income
 C
 D
         IRS Center where partnership filed return
                                                             I EFILE
                  Check if this is a publicly traded partnership (PTP)                                       6a              Ordinary dividends

      Part II       Information About the Partner
 E       Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)             2      6b              Qualified dividends

XX-XXXXXXX
 F       Name, address, city, state, and ZIP code for partner entered in E. See instructions.                 6c             Dividend equivalents                    17   Alternative minimum tax (AMT) items



                                                                                                                  7          Royalties

HHHW LIQUIDATION TRUST
55 GRASSLANDS ROAD                                                                                                8          Net short-term capital gain (loss)

VALHALLA, NY 10595
 G                General partner or LLC                          X   Limited partner or other LLC           9a              Net long-term capital gain (loss)       18   Tax-exempt income and
                  member-manager                                      member                                                                                              nondeductible expenses

 H1        X      Domestic partner                                    Foreign partner                        9b              Collectibles (28%) gain (loss)

 H2               If the partner is a disregarded entity (DE), enter the partner's:
         TIN                                Name                                                              9c             Unrecaptured section 1250 gain

 I1      What type of entity is this partner?                             TRUST
                                                                                                             10              Net section 1231 gain (loss)
 I2      If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
 J       Partner's share of profit, loss, and capital (see instructions):                                                                                            19   Distributions
                        Beginning                                     Ending                                 11              Other income (loss)

         Profit                                              %                                        %
         Loss                                                %                                        %
                           39.000000                                      39.000000                                                                                  20   Other information

                                                                                           mm
         Capital                                             %                                        %
         Check if decrease is due to sale or exchange of partnership interest                                12              Section 179 deduction

 K       Partner's share of liabilities:
                                                                                     Ending                  13              Other deductions

                          mmm
                                                  Beginning
         Nonrecourse                    $                                 $


                        mmmmm
         Qualified nonrecourse


                        mmmmm
         financing                      $                                 $
         Recourse                       $                                 $
                  Check this box if Item K includes liability amounts from lower tier partnerships.
                                                                                                             14              Self-employment earnings (loss)

                                           mmmmmm
 L                            Partner's Capital Account Analysis


                                                      mm
         Beginning capital account                           $


                                                mmmm
         Capital contributed during the year                 $
         Current year net income (loss)                      $
                                                                                                             21


                                        m m mm mm mm mm mm
         Other increase (decrease) (attach explanation) $                                                                         More than one activity for at-risk purposes*
         Withdrawals & distributions                         $ (                                      )      22                   More than one activity for passive activity purposes*
         Ending capital account                              $                                            *See attached statement for additional information.
                                                                                                          For IRS Use Only




 M       Did the partner contribute property with a built-in gain or loss?
                  Yes             X     No       If "Yes," attach statement. See instructions.
 N         Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)

                      mmmmmmmmmmmmm
                     mmmmmmmmmmmmmm
         Beginning                                           $
         Ending                                              $
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                                                                                  Pg 63 of 63                                                                                                     651119
                                                                                                                             Final K-1                            Amended K-1             OMB No. 1545-0123
Schedule K-1
(Form 1065)                                                                     À¾¶´                                  Part III           Partner's Share of Current Year Income,
                                                                                                                                         Deductions, Credits, and Other Items
Department of the Treasury
                                                                                                                  1          Ordinary business income (loss)         15   Credits
Internal Revenue Service
                                                             For calendar year 2020, or tax year

           beginning                                             ending                                           2          Net rental real estate income (loss)

Partner's Share of Income, Deductions,
Credits, etc.                                I
                       See separate instructions.
                                                                                                                  3          Other net rental income (loss)          16   Foreign transactions


      Part I        Information About the Partnership                                                        4a              Guaranteed payments for services
 A       Partnership's employer identification number
XX-XXXXXXX                                                                                                   4b              Guaranteed payments for capital
 B       Partnership's name, address, city, state, and ZIP code
HBL SNF LLC                                                                                                   4c             Total guaranteed payments

1280 ALBANY POST ROAD
CROTON HDSN, NY 10520                                                                                             5          Interest income
 C
 D
         IRS Center where partnership filed return
                                                             I EFILE
                  Check if this is a publicly traded partnership (PTP)                                       6a              Ordinary dividends

      Part II       Information About the Partner
 E       Partner's SSN or TIN (Do not use TIN of a disregarded entity. See instructions.)             3      6b              Qualified dividends

XX-XXXXXXX
 F       Name, address, city, state, and ZIP code for partner entered in E. See instructions.                 6c             Dividend equivalents                    17   Alternative minimum tax (AMT) items



                                                                                                                  7          Royalties

BETHEL NURSING HOME COMPANY, INC
17-19 NARRAGANSETT AVENUE                                                                                         8          Net short-term capital gain (loss)

OSSINING, NY 10562
G      General partner or LLC X Limited partner or other LLC                                                 9a              Net long-term capital gain (loss)       18   Tax-exempt income and
                  member-manager                                     member                                                                                               nondeductible expenses

 H1        X      Domestic partner                                   Foreign partner                         9b              Collectibles (28%) gain (loss)

 H2               If the partner is a disregarded entity (DE), enter the partner's:
         TIN                                Name                                                              9c             Unrecaptured section 1250 gain

 I1      What type of entity is this partner?                             EXEMPT ORG.
                                                                                                             10              Net section 1231 gain (loss)
 I2      If this partner is a retirement plan (IRA/SEP/Keogh/etc.), check here
 J       Partner's share of profit, loss, and capital (see instructions):                                                                                            19   Distributions
                        Beginning                                     Ending                                 11              Other income (loss)

         Profit                                              %                                        %
         Loss                                                %                                        %
                           10.000000                                      10.000000                                                                                  20   Other information

                                                                                           mm
         Capital                                             %                                        %
         Check if decrease is due to sale or exchange of partnership interest                                12              Section 179 deduction

 K       Partner's share of liabilities:
                                                                                     Ending                  13              Other deductions

                          mmm
                                                  Beginning
         Nonrecourse                    $                                 $


                        mmmmm
         Qualified nonrecourse


                        mmmmm
         financing                      $                                 $
         Recourse                       $                                 $
                  Check this box if Item K includes liability amounts from lower tier partnerships.
                                                                                                             14              Self-employment earnings (loss)

                                           mmmmmm
 L                            Partner's Capital Account Analysis


                                                      mm
         Beginning capital account                           $


                                                mmmm
         Capital contributed during the year                 $
         Current year net income (loss)                      $
                                                                                                             21


                                        m m mm mm mm mm mm
         Other increase (decrease) (attach explanation) $                                                                         More than one activity for at-risk purposes*
         Withdrawals & distributions                         $ (                                      )      22                   More than one activity for passive activity purposes*
         Ending capital account                              $                                            *See attached statement for additional information.
                                                                                                          For IRS Use Only




 M       Did the partner contribute property with a built-in gain or loss?
                  Yes             X     No       If "Yes," attach statement. See instructions.
 N         Partner's Share of Net Unrecognized Section 704(c) Gain or (Loss)

                      mmmmmmmmmmmmm
                     mmmmmmmmmmmmmm
         Beginning                                           $
         Ending                                              $
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